 

Case 1:09-cv-10429-VSB Document 149-1 Filed 08/26/19 Page 1 of 157

 

transferred - excuse me, when ihe funds were
transferred and properties were allegedly
purchased, did you become a participating ewnecr
in the dacument of litle?

A. Ne

MR. FOLKENFLIK: Counsel,

ohjectian. “Thera was no document.
MR. CONWAY: Well. duy were
mended tobe

atom tho m® da be

 

  

  

      
   
 

  
 

 

dant remember, Jt's in the diary.

©, Wes, is in theaHary. Do you
have any recollection of the name of the
praspouiive purchaser?

AL ddon't.

@. Are the contents af the Thatcher
document corres?

A. ‘Phe coments of the Thatcher

nw mm we eH Nt

 

 

 

 

Lo properties. But it was whal Eve been saying,
aa ik was for purpose and develapment of these
12 properties.

1a GQ. And was there supposed to be a

14 master buyer af Ue ond al this program?

15 A. Uhere's ne such thing as 4 master
16 buyer. Was there a buyer of part of the

17 propertics mayhe at some time, yes,

18 GO. Was there intended to be a buyer of
19 these properties?

20 A,  T dus'l think it was done exactly

21 that way. ‘There wag -- | was told at one paint
42 that there was a buyer,

23 ©, Did he inclicate ta you wha the

ad buyer was?

25 A. | believe he might have, Mut l

 

[Page 79)

 

G. Correct? . CONY : . bet
A. They were intended te be his cvidentiary purposes, there's no point in my
iz investment in purchases of preperly. reading all of this, Could we stipulate thal
23 4}. Did he tell you he had partners in 13 the contents ol this docutment are hased upon
14 tyis? 14 information given to Thatcher by Mr. Fingerhut
18 AL Wes, 15 as are ihe opntenty of his diaries’?
16 €), Did be indicate wm you what 14 A. Ne, A's rot Ue.
17 percentage of parlnes he was? L? MR. FOLKENFLIK: No,
18 “4. Thebeve he said a third, 18 A, Clo ahead.
iL O. So that each of these contributions 18 WHE SOLKENFLIK: We couldn't
20 sat capital would have been Jollowed by two other | 20 stipulate that the Thatcher investigation was an
21 contributions in equal measure by the parties he a1 investigation, Some information might have come
22 identificd as Jeffrey Daniel Katz and Jeffrey 22 fram Me. Fingerhut +
23 Schwarte? 23 A.  Corrcet.
24 MB. FOLKENILIK: Objection as io 24 MR, FOLKENFLEB; -- same
25 form. Its notclear at all, hut you can 25 information might have come trem elsewhere.
{Page 76] {Page BO]
i eslublish if you care to the order of events. i Mr. Fingerhut's diaries arc bis understanding of
2 For all we know based an your questioning Ihus 2 what accurred when iH invalved directly him.
3 far, the purchase could have been made years 3 That would he first person understanding. bul it
4 earlier and this could have been funding 4 alse involyed hearsay be obtained than other
5 Mr. Holzer’s participation or some other event. 5 people, including the ‘Phatchcr peopte and
6 @. 1n your discussions with & — stajements by David Holzer ial we know are not
7 Mr. Halzcr, what was if did you belicve he was 7 truc, hue in all events were hearsay.
a doing with these furs! a What we van say is ile ihe
2 &  Pthink it depended on the 8 ‘Thatcher draft is a draft prepared by Thatcher

a0 ag wt resull of their investigation, which

11 —sinefuded conversations with Mr. Fingerhut, And
i2 then Mr. Fingerhut's diaics arc Mir. Fitigerhut’s
13 recollection cosmemporaneously with the date on
14 the diary of what occurred and whal Information
15 he had received at that lime, which Included

16 both third party hearsay information and

1? ‘information he was personally aware of.

18 ME. CONWAY: Would you stipulate to
1s the admissibility of he Thatcher document?

26 A. Tid stipulate to is admissibility

ak ‘as adocument created by Thatcher dratt, created
22 by Thatcher & Associates which was intended to
23 reflect ihe reaull af their Invesligation.

24 MR. CONWAY: And vou would

as certainly stipulate to the admissibility ofthe

[Page 81] .

 

[21] (Pages 78 to 81)
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diury notes as being Mc. Fingerhut's own
receflections of events fer those pariicular
times’? And as he indicated, aa he dratie.
Mi. FOLKENELIK: lL would stipulate
ia the admissibility ef ihe diary entries as
diary entyies which reflected Ms. Fingerhat’s
underslanding contemporancously with the datc on
iar thei absael
: s aan hy

understaed [rom other souroes in other cases.

Q. Sir, why would yan have extended
moncy to Mr, Holzer instead of extending money
to Firigertul-Holzer Pariners?

A. Fingerhue-tlolzer Partners?

Gg. Yes.

A. iowas my underslineling that i
ywasivt going to be dene that way. Louk, Penn
tell you tight now this was all a big inistake
that this happened, that | did all
incorreetly. Hi he the first to say that. 11
didn’t go through Fingerhut-Heizer Pariners.
There waa ne issue about doing that, This was
something that preceded Mingerhue-tfalver
Partners. It started in 2002.

MR, FOLKENPLIC: Aad just se.the

 

   

[Page 82]

record's clear, i think the question intended,
and 1 befieve the answer intended to sefer to be
just referring te the payments af funds ox
reflected on BE GOGOSE.

A. Yes, Hihink that's what-you're
talking ebrul.

Yes.

MR, FOLKENFLIK: And there are
over iranglers of Curls on OOQ03 | which are
indicated not ta he-bnvolving those properties.
The payment of moncy te Mr, Holzer of $1 062,000
that are identified ag “Holver peryenal,”

ME. CONWAY: Cn f03F?

MR, FOLKENFLIK: 31. Which appears
Lay brs --

MB. CONWAY: The 2405 ara the 384?

MK. FOLKENFLIK: ‘Yes.

G. Now, the initial transfer of fonds
by you commenced. March 27th, 2H wiih the
transfer of $62,500. And that was traneferred
to Mr, Holzer, correct?
AL Correit.
@. Now, you tvaa-liad not set up
Fingerhot-Halzer Pariners al. thal tine, had you?
A. Ne.

 

 

 

 

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24
25

Q. And Mc, Fingerhut was etigemed --
4B. POLEENELIR: Mr. Holzer.

Q.  lapalogize.

A. bts all right,

®. Prolusely, Mr. Holzer was still
engaged at another firm at the time.

A. Yes.
}, Sothe original discussions

: oe ort

 

 

     

 

Fingerhut-Holzer Partner
&  “Fhat's correct.
And when you were discussing shis,

did itaccur te you to ask whe the investor was

who would buy this after the properlies were

accumulated’?

A. No.

Q. ‘Did it oceur io you to create an
amingement between.

A, By dhe way, | should just say that

T've never heard of annyhody investing that way.

People can say that they do, but that is neta

condition on purchasing this. Fmeun, if

somebody comes along, great, “That tsn’t the
reason the investment’s made.

MR. FOLKENFLIK: Just to clarify

the record, “lhat" meaning thet there's «
purchaser identified In advance.
THE WITNESS: Right.

Q. Yes. You purchase property hoping
ww iransfer H tu someone later or use it
yourself,

AL Could be

Q. Now, what was it that yeu were
purchasing with cach ef these?

and answered.

OG. Bo you know what you were -« were
you purchasing bare land, were you purchasing
farmland? Were you purchasing dilapidated
structures, olel houses?

A. its on this sheet. I've already
told you about five times what ['ve been
pucchasing on cach pices of property. This is
the other sheet, whatever it ia. No, ne, this
one here. Exhibit number 5.

O. Yes. but this decumendt doesn't -

MR. FOLKENELIK: ‘his doesn't rater
to these.

Q. This document doesn't indicate what
it was you were buying, It just indicates that

 
 
 
  

[Bage 84]

ME. FOLKENFLIK: Ghjection. Asked |

 

 

[Paga 83]

[22] (Pages 82 to 85)

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[Page 85]

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you bought something.

MR, POLEENPLIK: With all respect,
dir, what cartbly difference doas it nvake if
they had a sack of straw with the Tal Mahal on
the piece af land be pur chased in Haverstraw te
your-client’s case, which has zero to-do. wilh
Haversiraw?

to de wilh the rehitionship belween

 

 

ak oi ome oe a

16

  

 

there WET subscqucnt. pioees.

Q. Wuslhere wrenyorr Ural ver il rat
create dgcunentary jee! lor the use ofthe
funds that you tran sferred to Mr. Holecr?

MR. FOLKENFLIK: You meat
documentary intent meaning that he wrote
somuthing on a pices of paneer?

ug vy Uhis is what

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ia Mr. Fingerhut and Mr. Holzer, Au “Would you topes’ that, ple ae?
ii ME. FOLKENELIK: Ne it doesn't. Tt LL ® You asked me to gay why didn't you
12 dovsn't have é do with the fact of whetherthey | 12 create a documentary history. What did you mean
13 went oul to eat and what Uhey otdercd: ft has a3 by that?
a4 ta do with some aspect of the relati cmshipy that a4 ‘A. in the relationships that Ive had
£5 you may think gives you some right. So inquire 15 in Geo Capital, my ather patter, we. have
6 about that aspect of the eelationship. 46 invested like thiy in each other's deals dor |
i? Q. Now, sir, al wy lime in the 47 guess now Mb plus years _ No. documentation. A
48 transfer of $12 inijlinn, did you create a 16 very heavy relianer on trust with cach other.
13 deeunient between yoursell and Mr. Holzer 19 Slow, inthe case ol my paciners. ins
20 concerning the nature of that traisfer? 20 Geo Capital and in Weekly, its never been an
21 A, No. al issue, And it’s beencon both sides. Ive done
a2 Q. Atany time -- 22 the same wilh them saying I'm invésling in X,
23 A. Ask me why I did it. 23 — woitld you like to come in, and they say yes OF
24 , We'll get there, We'll get there. 34 iw. That was it, And them asking mie.
25 A. Okay. All right. 25 Go. During the peril thal you were
[Page B6] [Page 88]
i O,  Atany time did you view any of + investing with Mr. Holzer, with Mr. Lalzer
2 these properties! a ossentially contributing nothing + /
3 A. Fes. 5 A. Walt, wait, | didn't know that. |
a o. And when you viewed thems, what did 4 didn't know that he-was contributing bathing.
4 you sce? . 5 © When did you leans for the first
é A. {| saw land, & time --
7 Q. What type of land? 7 & 2407.
8 A. Lawid that wails going ta.be 8 ©) Nat before?
3 purchased, 3 A. Na, Yau can't tell fron Nuit, Av
an Q. And what was on that lind? 20 that is, is monies invested, a picec of him. 1
ai AL firass, 4L did i know thal he wasn’ pulling hig ewremaney
12 Q. Just grass. 22 in
‘43 A. ‘Yes. ‘Well, there was a pier in 43 MR. FOLKENFLIK: The record should
14 one, i4 reflect that the word "that" was referring to
15 G. And was there intended te be a a5 the document on BF 3) and -- BF 30,
16 total fund ncevssary for the purchase of these 16 uF 23.
17 properties? 17 MR. FOLKENFLIK: BF 23.nu, I's
18 A. [don't understamd.. 18 page Bl 30 in Lxhibit 7,
18 MR, POLKENEFLIK: as there adollar | 19 Q. During the fime that you were
2d amount that was established that had to be 20 working with hdr. Eolzer, did Mr. Llalzer bring
2k obtained? 21 any Candy in excess of BE 11,000 ilo the
a2 ©, Yes. Mr. Holzcr was a one-third 22 Fingerbut-l lalver organization?
24 particlpater, correct? 23 MR. FOLRENFLIK: LLC.
24 A. Well, that's not correct hart that's 24 G LLe.
25 what f hough, Ne i clearly wasted because 25 A. What docs that chart show?
_— [Page er) {Page 99)
[23] “(pages 86 to 99)
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O68 Of wm i & UW Ne

21

 

MR, FOLKEBNELIK: 13y the chart he's
redérring lo & werk product E created trom the
affidavit submited by the. district altomey ta
the court in connection with the liaizer criminal
conviction and restilation order. And that
affidavit +»

MR. CONWAY: bs thatthe one that
was identified here?
oA POLKENPLIE: No. that

 

attomey's atfies and was produved by you tome
shows a scrics of funds heing contribrted 6
Vingerlwt-Holzer Parinors LLC in small amounts
apparently for operating expense of
approximatcly $200(0¢.

THE WITNESS: Was that 2005 and 76?
MUL. POLE ENELAK: Iwas 2005 and

Q. And during thal time, during >
MR FOLKENFLIK: By ihe way, and
that’s not refleeted on these dacuments,
including in particular Exhibit minther 3 because
thai was operating expenses 93 opposed ta
{veslineits.
THE WITNESS: Corrcet.

[Page 90]

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know whal hiv personal needy were. Did 1 pay
wienes

G. Did you lend him monies?

A. Did pay monies lo supparl the
rentand the averhead, yes, Tut there were
paris in whatever those two years were that he
ibiah.

Q@, Did you give any personal funds to
Me, Holzer ihreetly for his own persanal

 
 
  
 
  
  
   
 
  

  

A. may have ended upt
that was not the idea.
ME. POLKENDPLIK: Mayle you went io :

 

G. Wow; you're not indicating that
these documents were prepared by you, were you!
MR. FOLKENPLIK: Bo, no.
THE WITNESS: ‘that's not IL.
MR, FOLKENFLIK; Fm just talking,
abaut there Was an allidavil supplied la me.
The affidavie said ihere were -= the following
payments by Mr. Fingerhut to Me. Holzer and it
reflected approsimalely the $12 million that
appears on the Ushihit 7. Amd there were monies
pers by Mir. Holzer te Mr. Fingerhut and te

ae
_Hingerhul-lolver Partners, TPyou want io ak

about thase ==
MR. CONWAY: “Ehey‘re hers. | get

"em, ,

Qh During the line that you wore
together -- that you were functioning ag
Fingerhul-Holzcr Parincrs, did you have te
support Mr, Fingerhut?

A. (ani Mr, Plngerhut.

Q. Jesus. During the time chat you
were working with Mr. Holzer in Fingerhut-Holzer
Partners, did you have-ta support Me, Thvleer Tow
his personal needs?

A. Thar's a tough question, Palor’t

[Page 91]

 

 

13
14 bring the witness’ attention and clarify what |
15 page 34 on Exhibit 7 refers. to. i
16 THI WETNESS: Is that the Breen /
17 Murray thing?
18 MR. FOLKENFLIK: Yes: /
iD A. Pr not really sure that is. ‘Phat
20 might be something that fe -had -- ;
aa G. Excuse me |
22 MR. POLKENTLIK: [et ibe witness
23 Finish.
a4 G. There wasn't s question, We were
25 going there. Yau indicated at BV ONG031 that :
[Baga 92]

1 there were bwo additional transfers to

2 Mr. Llotzer which were identified as personal,

3 February 4th, 2005, $202,200: March 8. 2008,

4 $RGO,000. For what reason did you extend i

5 million dollars for persarial expanscs of

& Mr. Holzer’?

7 A. That was te cover him-on.an

&. investment dad we made that fre couldn’ caver.

3 Q. Naw, ifMr. --
10 A. At lewst 1 thought so.
i. Aa. FOLKENILIK: | think there's a
12 relerence in the diary pages te this 88 well,
13 Q. Did you ever see-any Funds - :
14 MR FOLKENFLIK: Excuse me -- gb
z5 ahead.
46 ©. Did you cver sae any funds in
it excess of SEL L.Q00 brought by Mr. Holzer inte
18 Fingerbut-Holzer Partner me
¥g A. ‘There was u series — do youl have
20 ihoge sheets? The sheet we just talked about,
ai ‘The thing thal Max gol from you. :
22 MR. FOLKENFLIK: The affidavit from |:
23 the digivict atlorney’s ollie. tt species
24 paynicnis that were im ade in hoth dincctians.
25 Q. forgive me, I don't recall that.

 

[24] (Pages 90 to 93)

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a A. A sores of investments -- well, 3 @ The eecounts may be gone, Bie you
2 he'll show you. 2 have access te Lhe nuetibers?
4 ©. Ave you familiar with the affidavit 3 A. dhink.so.
4 af the district utormey of New York? Have you 4 &.  Velask vou, we'll leave a bhank in
= read it yourself? 5 dhs recur, when you eaucule the depositions,
& AL Vm aol sure. 6 would you fill those day?
3 34K, FOLKENFLIK: That's what | sent % A. Tf Tl have chem, Pl give therm Lo
a YOU. B you, sure.
“eS Wes 2. LED TO BE SUPPL IPED:
POET: i@onettiahyouespok eel Mh LAAN Cs
12 produved in this casc? LL ©. And in light of the statements by
12 Mi. CONWAY: Yes, 12 ihe alisttict attormey, J would ask you fu — do
if Q. Now, sig, I'm going to ask this twa i3 you have access tn the acenunts ghat pau
14 ways. The district attorney at page -- in the 14 yourself operated for your own personal benetit
15 affidevil of investigator Shannon Rawe at page 15 on or about December Hth af 2005?
reel B NOG 78 indicates that an December 15th, 2005, .) 16 d. Personal secounita?
A? shortly afier -- on the day ol ihe second L? i. Yes.
18 investment of the Rapillos,.a wire of R400, G00 18 A. You mers my own --
is io | folzer was sent and Holzer transferred 19 BAR. FOLK EWELIK: Your own bank
20 $200, C100 tr your personal acoount on that same 20 accounts.
a1 clay. ad G. ‘You miicated -
a2 Are you familiar wilds that event? 22 A. Yes. Yes, ves.
23 A. Lmean, b could probably look it 23 y. = that you are not rejecting a3
24 up, but Cr not familiar with the other part. a4 untrue the stnternent by the district allurney j
25 GQ. Did Mr. Fingerhut transfer 25 that on December 15th you received $200,000 thom
[Page 94] [page 96] |
4
1 $200,000 4 Mr, Holzer. :
2 MR, FOLKERILIK: He is 2 A, Idont accept ilar reject it I
3 My. Fingerhut. a dent know. Td have to check.
a Q, Did Me. Hulger leansfer $200.000 to 4 cy. Sir, could Task you to inchude a1
5 your personal account an oF aheut December 13th 8 the tranacript wher it's executed the banks and
& of 2005? é atcount numbers for your personal bank secubils Ff
a A. If it’s in this seagement by the 7 an ar about December Hidvot 2046.
€ g PA, thea § would say yes. 7 nicer, Tecan't tell 8 MR. FOLKENEFLIK: Pb tuke that
3 you offhand, 9 under advisement. Erhink an easier way to deal
19 OG. Now, sir, do you have the avcuint io with this would be that we wil] discuss und
41 nrunbers for the various acocunts thal were i consider stipulating to the gormectiess of the :
az jasued by -> that wore held by Fingerhut-Holzcr 12 district atinrney's assertion if.we investigate i
13 Partners 144077 13 it and Cid tbe you bras. \
a4 A. Bank account numbers? id A. ‘That's fine. f can-do that. But f x
15 QO, Bank account numbers, yes. 45 yiving you the bunk accuunl bs cregy,
1é A. ida. . 16 Q. Sis, with whom did you do your
17 @. And how mary different bunk i? personal bunking in 2005?
18 accounts did Fingerhut Parmners have? 18 A. JPMuargal.
19 Fingerbrit-Holzer Parloers. 19 Q, And you would have had investment
20 A, Tid have to lack it up. Prebably 20 accounts as well ag operating ascounts and
2i four, al personal accourlls there?
22 ©. And you still have access to those 22 AL Yes.
23 accotnd numbers. 23 And do they continue Lo be your A
24 A. They're all gonc. I've shut therm 24 personal bank? :
25 all down, 25 A. Yes. :
| [Page 95) [Page 871 |
125] (Pages 94 to 97)
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O. Ane are ihe gun personal ure
operating accounts still netive?

A, Ud haes to check. 1 don't know,

GO. Now, alse in the district
sttorney’s roport, he indieated-at page non ys
ihal.on the aceasion of the transfer of $800, oon
from the Rapitlas.on the date of March 23d,
2006, Mr. Holzer made purchase af $500, bi) ofa

mo al coo a WN

   

ik :
41 kmow itae to. be corrcel, sir?

 

pp wa mia e& WN

   

  
 
 
 
 
 
 
     

witht bis own Furuls, according fa them

MIR. CONWAY: | havé.seen those
files.

MR. POLKENFLIK:. Me. Holver with
his own finds houpht Si) iMi) shares of
securities on that day. We can stipulate that
thal's avhat hey: gait publicly, Phat's Hine
viel ua.
fight.

   

 
   
    
  

 

 

25 stated in thels public Aling.that Mr. Halzer.

 

 

[26]
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(Pages ag ko “401)

 

 

 

Page 93]

to Mir. Lolzer's interest. in Vt
12 A. That's not ured — 12 was, you can ask Me. Fingerhut to explain, We
13 ME. POLKENFLIK: Let's takea step 13 gave vou ddcuments reflecting shat trongaction fi
a4 aladime. Why dant you ask about the initial 14 between Mr. Holzer and Mr. Fingerhut, ;
15 iuvebase and ther ask aboul. what Happened Lp is MR. CONWAY: What you gave rd list)
16 Mr. Holzer’s interest m V¥ Campus. 16 es? We'll get to that. That's still down |
17 MR. CONWAY: Well, we're going to 1? be road, :
18 Be inte ¥ Campus,-bet at the mernent TT just 18 MR, FOLETNTT. TK: Let's g pet ip. some
13 ask that. 1a of those things that may be relevant to-yout ;
2g G. Qo you dispute in any way that the 20 theories as opposed to Haverstraw. |
ai statement of the district attorney thet of the 21 © Sir, did there come i litte when i
22 $500,040 transferred by the Rapillos ti 23 Me. [olzer trarisieered to you $300,000 worth of |
23 Mir, Holzer on March 23rd, 2006, that $800,000 of a3 ¥ Campus stock? cl
24 ¥ Campus sas purchased by Mr Holzer and-then a4 MR, FOLKERFLIK: Objection asin |
25 subsequently transferred to you? 25 fare. Did there eommé a thine when there was a :
[Page $8] [Page 100] |
4 MR. FOLKENPLIEK: Objection. Let me L transfer caneorming -- when there was. a :
2 take += 2 teungeclions concerning ¥ Campus?
3 WE. CONWAY: Any way you want [0 4 Q. ‘You want to try it that way, Sir.
4 phrase tt, 4 did there come it Lime subsequent 1p ihe date oF
& MK FOLKENELIR: Lok, First of 5 March 23rd, 2006 where there was a transaction
6 wil, we dom’t know whether it was oF was not the. G between yoursell and Mir, Holzer --
7 Rapillog money that Mr. Holzer used, Ht may 7 A. No.
8 have heen, ii may sot have heen, [1 was. 8 Q. al ¥ Campus stock?
3 $500,000 out af jis aecountto ¥ Cainpus. 9 A. Na,
LO ME. CONWAY: Out of Mr. Holzor’s if GQ. Dl you-at aey time - clict:
11 account i ¥ Campus, 44 Mr, Holzer at any time transfer $300,000 worth
12 MIL. FORKENELIK: And $800,000 went i2 of ¥ Campus stack to.you?:
13 into his account ftom the Rapilles. We don't 43 A. That was — Edon't know, That was
14 know whether there wer: mniflians of donarsin 14 the == no, this was the later -- you know wival?
15 that acewunt== an 15 Ine seerys 1 i] take that back. He dH, He slid
16 OM. CONWAY: Brom Mr. Holzer, we 16 that. ‘That stock is worthless. Butt would
17 know there was nolbing there, 17 just lefl pou that's what happened.
18 MR. POLKENPLIE: We don't kiwe, We ‘18 Q. Okay, be gave you --
19 have assumptions abd that may be correct. is A. He didi't give me a thing, believe
20 MR, CONWAY: However, on the day he 20 me. .
2 received $806,000. al O. He gave.you stock that he had
22 Mit. KOLKENEFLIK: Let's take ita 22 purchased for $500,410. :
23 step alatime. There was a public filing, ¥ 23 MR. FOLKENFLIK: Counsel, there was |
24 Campuswasaubliccompany, They publicly 24 a transaction, contingent assignment. The :
25 eailingencies occurred and cetl ain securities :

 

 
  
   
   
    

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Md gy i od bF NR

 

would Have been transferred iv accordanec with
the coningendy desigement whets those
contingencies occurred,

THE WITNESS: Correet.

MR. POLKENELIK: We gave vou the
contingent assignment: Why denr't you ask abour |
ity because § H doesn't vefer to the 500,600

 

 

  

TO st om it oe ib oh be

    
     

A. Of what?

QO. Prowl of purehase of the
properties that were In question,

A. No.

Q. At-any time during the multiyear
peried when. Mr. Holzer wie supposedly making
these purchases and: you were extending large

 

   

 

 

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[Page 103)

 

 

 

 

 

19 MR, CONW AY: Dapree: 20 La AW es, 6 38 & conipanies, any thing like dar?
42 MR. POLKENPLIK: So-yvou're creating Ai A. Yes. T meat, what was distussed
12 a contusing record by -- 12 were these iver guys the other buyers:
13 MR, CONWAY: No, net intentionally. 43 @. Did you ask where the davumenlatians
14 MR. FOLKENELAK: 1 dida't say the 44 was?
45 wont "intentionally," 45 A. Pvéalremiy.told you I haven't,
16 MR, CONWAY; Tin loflowing the sume | 26 We-can goover this a heindred times. I will
17 timeline that the district attorney did. iy tell you I have not done if, I'm not happy thal
18 MR. FOLKENFLIK: But the distrlet 18 | didn'tdo it. It was abigermr Okay? Bur [
18 attorney didn’t refer ta the contingent 19 = yeukeep asking me the same question. Phavewt |
20 assignment or to the timeline. 20 done it,
21 MR. CONWAY: So let us clarify 24 Q. Now, you consider this
0 that. 22 $12 milion errer?
23 MR. FOLKENFLIK: Se clarity it, 23 A. Atleast, Does that make vau lee!
24 And since you have the document, why don't you 24 better?
25 use ft. , 28 . Yer
[Page 102] {Page 104}
i MR. CONWAY: We'll pet there, Max. 1 A. Gand; rr glad.
2 We'll get there, We'll gel there. — 2 Q. Let's take a look at the Thatcher
3 MRE. FOLGRENFLIK: Idoubt it. 3 document. :
‘4 Q, At the Line that Mr, Holeer 4 MR. FOLEENFLIK: Cun we-ge olf the :
5 transferred the $200,000 ta you that you've 5 recard fara imarment?
6 already referred to — & MBE. CONWAY: You certainly nay.
7 A. You mean paid me 290,000, 7 (Discussion aff the record.)
8 Q. Okay, now, was this as part iff ofa a ©. During the time thet you and
Sg transaction that had additional elernents? & t. Llotver also wete pariners --
LG A, Thave no ides except thal he awed MR. FOLKENFLIK: Objevtion as to
13 mea huge aniount of money and there was atime, lorm.
12 when he paid oe something. GQ. When you and: Mr. Halzer were
13 Q. “You weuld nol dispute ibe date of parlivipating in Fingeshat-Holeer Partners --
i4 the transficr-as being £ Deee mber (5th, 2005. MI. FOLRANERIK: LLC.
LS “ME, EOLKENE LAK: Counsel, t told QO. -- LLC. did Mi: Hetzer shew an
16 you we'll.sce if we can dig up the record and we 26 inability to pay his personal expenses?
LF will stipulate to if, My: suppositive is that. 1? MR. FOLKENFLIK: His personal
18 date is correet because the affidavit was a8 expenses,
18 supposed]y prepared after review of the banking 418 Q.  Persomil experses, yes,
20 records. But we will ver rity thar and ‘Stipelate 20 MR. ACHLKENEFLAK: Other than the
2h te it, 21 expenses thal may have been covered by the
22. Q. Now, sir, while you were extending ‘22 $1,062,000.
23 the pertinns el the $12 milion over Ibis 23 MR. CONWAY: Right
a4 ihree-veur period, did you ask Mr. Nolzer at any 24 A. Leamea favor, nepear that, please.
25 time for any proals of purchase? 25 @. During the period thal you were

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Sos] mm Um WM

Tunctloning ai Fingerhut-Holzer Partners, did
Mr, Holzer shaw you an inability 1a cover his
peroneal obligations?
MR. POLEKENELIK: Oulu then dle
HY 62,000,
A. Tden't believe sa.
MR, CONWAY: That would be part of

it

co nt ok Lm he Lk fat

the $4.5 million was intended for what purpose?
A. Investments in the series of
invesiments we have been laiking about.
©. Were any of those investrents in
the Haverstraw real estate properties?
A. Pm not sure. E's all a dunetion
af timing. Whenever it was done. Thene's.a
chole series of investments made bere

 

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MM a mw tm & NH ee

RON OR ROM ON ROR pe OB Re pe Re pe pe et
So &@ WN PO we w of om im & AP pF

 

[28] (Pages 106 toe 109)
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needs?

A sheik,

 

io

 

 

Partners?

1 hiak,

 

  

Q. And what were the clreumatances os being a 2006 invesiment.
around your extending a million dollars of your ii A.  Qkay, sx if there are investments
personal finds to Mr. Holzer far his personal 12 made in 2006 in Uaversines, it could he likely

13 that it's there. No, in fact, ifs Beacon and
A. Didn't | just tell you this abcuet 14 Monticello.
five minutes aga! 15 @. Now, are you familiar with the term
MR. FOLKENFLIK: Yes. 16 “Pred wcad
G. Okay. LT A. Delheood, Bellwood is the
New, there were parties identified 1B investment ihing of the ceuk estate Hing that
in this document, a gentigman by the name of 43 David talked about?
Adam Gurney, an Arsh investar. 20 0. Yes. Thal was the putative
A. Aowheal? What vs the lagi name? 21 investor acheduled ta purchase those propertica.
MR. FOLKENFLIK: An Arah investor. | 22 MR, FOLKENFLIE: Nw. |i was the
24 putative - he was ihe investee. It was the
A, Shetkh Mohanuned. 24 partnership inowhich ihe money was being
QO. What was your hoped for lovelyvcment 25 invested. And Dellwaod was acquiring the
[Page 106]
ol Sheikh Mohammed with Fingerlut-lolzer Z properly in Haversiraw and Beacon ail others,
2 . ‘did sou ever see any partizipation

4, That was the Synconiunt limited 3 ty Mr, Holzer in Dethyood?
partnerships. 4 A. T don't understand.

GQ. Ans what was that about? 5 Q. Did he ever show you any

A. ‘Vhat was the partnership investing 6 documentation that would indicate that he had
in the areca of disabilities. Inwas to be a 7 purchased an interest in Bellwood and was
limited parlnership, a vedlure parinership 8 participating in the purchase of these
ussentially. Adam Curney « } don't know what g proporlivs?
kind ofa tend he was wih David but] met him: 10 A. No,
through David. 1 nvet iinw in Weland and he had 11 Q. Did you ever ask to sec any such
recommended -- well, at least | thought le had 12 prac?
recommended a visit to the sheik in Debai. ‘43 AL Noe.

QO. Did vou ever meet this sheik? id Q. Bo vou know what the intended

AL Net id purchase price of all of the investments upstate

Q. What was the sheik going to invest 16 were’?

i? A. The intended purchase price?

A. Syneenium parinceship. 18 Q. ‘The intended purchase price.

Q. New, did there come a tine in 2006 a9 MR. FOLRENFLIK: The wliness
when you had to barrow $4.5 million from 20 testified that over time mew properties were
JPMorgan Chase for a series of investments in 21 identified and additianal purehases were madc.
Vingerhul-Holzer Partners? 22 There wasn'ta solitary intended purchase,

A. Did f have to borrow il? No. But 23 There wasi't a soditary intended purchase price.

24 0. Weill, the term "$96 millon”
Q. Did you chose to borrow 1? And 25 appears in the dacumentation in the timeliie of

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se :
4 evelily, number i. That sum of $6 million carne x QO. Well. why would vou need to not be
2 from where’? / 2 revealed to the other igvestors?
3 A.  Viwats the hell outofme, i dan'y 4 MR. FOLKENELIK: Objection asta
4 know thal number. What docs that say? 4 form.
5 ©. Hsays — 5 A. Ttwasn’s an dsane for me.
6 MR. FOLKENELEIR: What paragraph are 6 Well you're writing then, “I
7 you on? 3 purchased one-half of Ciavid's interest
8 4 «ae
10 maar teason. for the velablishment of id MR, POLEENPLIK: Chjection,
ad Fingorhutellalver was to take advantage ol ihe Al A. Tewas not up te me,
a2 new monies from the sale of the property, at the 12 @ = Whal was. not up to yout?
13 time approxititely $96 million versus the $30 is A. 1 wasn't saying sou have to hide
i4 milligs onset.” ‘Phat's written in the first i4 i. Tt was his jasue. le wasir't mine.
15 person, i5 Q. Did vou create a document thal
18 A. Righi. 16 established chat you had half af this
L? G. Now, during the onurse of the 1? investment?
18 inwesleeent -- 1a A. No. N-0,
ig MR. MOLICANELIK: This says it was 19 ME-FOLEENIAIB: ‘That's ahout the
20 approximated that the sale of properties that 20 seventh time you asked thaé question.
21 wert purchased for 30 million cauld take 21 A. Why do vou keep going over this?
22 place -- 22 Liston, these were not good Investments. ‘Chis
23 A. He hada third and } had a half of 23° is — I was going to say the F werd, but this is
a8 that. Se it works out. 24 fraud,
25 Q. Well, wou seers a ridden investor in 25 Mi. FOLEEND LIK: That's the F werd,
[Page 116) [Page 112}
1 Daviels one-third, weren't yeu? i A. Whatcan I say? But if you'd like.
2 A, A hidden tavestar? 2 Mi tell you again, this was a mistake. All
3 MR, FOLKENILIK: Objectian ag to 3 tight?
4 form, Hilder trem whom? 4 QO. Did-David give you any reason why
5 . Your interest in David's 5 the ¢runsaclion for the sale of these properties
6 contribution. was mol disclosed lo anyons, as 6 was not completed?
4 best you kneny; 7 4A. Why don’t you look in the diary.
a A. Thave no idea. a its all in there. ‘There were a whole series of
3 Q. Did there come a time when you 8 explanations why, and hey were not téuthful. |
10 bought half of David's one-third? if don't know if you really need to go overall
LL A, That] bought ball of David's Ba these. “Phey'ré right in there.
La une-thira, a2 MR. FOLARENFLIK: Aad ther ibere wag
13 QO. Yes, 130 a point at which David claimed the transaction
4 A. iden't know. 14 had been completed,
18 Q. You indicate in BF 0032, te sixth a5 MR. CONWAY: Eon. ) saw it
£6 line dawn, '! purchased ane-hall of Davints 26 MR. FOLKENFLIK: Okay. And whai
17 interest unbeknownst to others," iy difference dines this make to your clients!
ig A. Okay, then tid. What arm | gonad ig chum?
19 say? 1s Q. Did there-came a time when you
20 Q. Why would you wish te be an unknown 20 began investing in a stock called ¥ Campus?
21 investor in David's one-half -- in David's 21 A. Yup.
22 aoce-third? 22 Q. How big a position did vou take in
23 A, Jee Ddort know, We've gene 23 ¥ Campus?
24 over this. ‘This was amistake. | didn't wish 24 A. Well, to muke it very clear, ¥
25 to do anylhing like that, Okay? 28 Campus we had originally financed as a private
Ln [Page 111} [Page 113] |

 

 

 

[29] (Pages 110 to 113)
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1 compeiiy oulat Weekly. Ghay? And we gold if i ta yen who the purchaser would be whe would /
2 when it went public, Ther | repurchased i back 2 aller £99 million Jor the properly? i
3 in, Lden't know, 00H or something like that 4 A. Wo, I don't remember that date A
4 for my owt secounl 4 either, 2004, But that's nol my diary [ don't
5 %. V Campus had ecne public before 5 believe.
& 20017 6 @. No, this is the Thatcher Associates
7 A. 1999 I believe, 7 document. 10 you disagr ee that the number of
g a 99 million 2 OD
io atery. [tight be helpfied, 1a O. Approximately whee Une did you
4t A, ‘That's it. The initial inveatment » i come eo beleve that you were dealing with
120 that we made in Weekly we sold aut when itwent!) 22 Mr, Holzer aga fraud?
13 public. | was a hoard member, 1 left lhe board i3 A. Fall of 2007. Look in the diary
14 ulicr we sold the shares. it was a huac hit, 14 Holes,
18 tod, ut it was the time that anything worked, 15 &. dace. D sce. What caused yu le
ia 1999. Then | botight it hack as a patilie 46 reach that conclusion in 20077
£7 company. 17 A. A wumiber of things, but again, if
1B Q. Se you divested yourself of an ig you read that --
419 owner's interest 19 ©. Reading it doesn't pul it on the
20 A. But that was net me. ‘That was ao record,
21 Weekly: ai MR. FOLEENFLIR: Jest list your
22 Q. And did you extract some heneltt 22 —_ best eecollection as you're sitting here,
a3 from that as a participator in Weekly? 23 A. The best recollection was when he
24 A, ¥es, 24 told me thal there was a sale and that in faet,
25 QQ. And when 25 he produced a deposit for $343 million in an
[Page 114] [Page 116] |
1 A. Thed a carried interest. We had i account and showed me -- and actually, the
2 carried interests, 2 person whe was running, still is, York Tango
2 @. When did you begin purchasing it on 3 because she was waiting far funds. And then
4 the market’? 4 deposited in the FH LLE account, and of course
a A. Tdon't mmenvber exactly. ft was 5 it houneed.
8 either 20 or 2G 4, 6 @ FHLLC. The Fingerhul-Helver
7 Q. And in Fiegerbut-Holzer fartncrs T account,
a you intended to continue purvhasing 1? 8 A. Whatever,
2 MR. FOLKENELEK: Objection. a Q. He pot that in ihe Mingerlutlfelzer
10 Assumes lists nut in evidence, is account,
Li A. The investment made hy an 3. Yeah. And it boutced, JPMorgan
12 Fingerhut-Holzer in ¥ Campus was not in the - 12 shut down all the accounts the néxt day.
13 it was ot common equity, J befleve it wasa 13 QQ. New, did that fenclionally stap
id private placement. ft was a proferred stack | 14 business from going forward at Fingorhut-Holzer
15 believe. 15 Periners?
16 MR. CONWAY: I'm going to need five 16 A. Well, Fwoutd say ves. Although
17 ininutes. 1? ihe funds inside Pingerhet-Holeer were basically
16 (Recess taken.) 19 paying wapes and rent,
ig BY MR, CONWAY: is @. Whal do you mean --
20 @.  Inteading the Thatcher decumene, 20 A. When you say did it shut down
21 it's indicated that in 2004 Me, Elolver informed 2k Pingerlul-Holzer, the bank stopped the ability
22 you that the Haverstraw property was going io be 22 re pay salaries. “That would have shuc it dawn,
23 sold for $09 million, arc that dheir share of 23 Q. Wher JPMorgan closed the wecoumis,
24 the proceeds would be approximately $33 million, | 24 did it clase down all of the accounts attached
28 So in 2004 did Mr. Holzer indicate 25 i Fingerhul-Holger?
[Page 415) [Page 117} |
[30] ‘(Pages - aia to 147)
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AL. Vex. 1 A. Well, we had carmmitted te iL
@. Did that metin that you were not 2 GQ. When you indicate --
able to aocept fuids or issue fimds out ofthe 3 A. And (had done my half and

   

otvinusly David had not donc his.

Well --

A. You bave tecknaw her She's tough.
She's very tough. She's terrific, Twish I heal
t0more Uke ber. She came over ail she wanted
bal

Fingerhut-[bolver accounts?
A. Yes. There weren't a let of finds
in ary case, but thal didd'l matter. He-boun
the cheek, There were $1,000 In the ace
and he wrote acheck fur 30 9

  
     
         
     
 
  
  

@ -j] ch tt &@ GN ke

     
   
 

FS

     
 

 
 
 
 

 

    

 

 

 

 

 

 

 

 

 

16 Q. ~ Now, on what account did be verit Q. Just for the tecard, who is she?
LZ the $33 million cheek? 2 A, Her tains is Andrés Miller, She's
12 A, What does thal mean, “on whet 12 still running the enmpany.
13 avoounl? 13 Q. Nov, you had already extended: your
i4 Q, What aceount was issuing the 14 half of the investment?
18 $33: million? 15 AL Ves.
16 A. Havas [ thhik his own personal 16 Q. Did yourestend i lhrough
a? ‘acouunl. LT Hingertue-l folzer Partners!
18 Q. | is personal account, 18 ‘A. Wa. Hwas mo. Tended up having
ag A. Lthink so, yes. [don't remember is tu basically cover-what he didn't do. Agaity,
20 exact = f don't remember what. aceaunt i waa 20 Tor-mysele,
ai supposedly written on. 24 Q. Was David voing to issuc the funds
22 @. Did you ever see the check? 22 from Fingerbut-Holeer?
23 A. No. Just the deposit. No, wait a 23 A, Well, [ stspect that that was-the
2d minute == nono, Ho, | only saw lhe deposit. J a4 idea if in fact anybody accepted a check that
25 huve copies of other checks that he wrote that 25 was written [ur 33 million on n $10,000 balance.
[Pags 118] ¢ [Page 120]
1 hounced, too. 1 So if doweuld have gone into |inperhut-Helzer,
2 QD. Previgusly? 2 then- it wouldi't have, so what's the diflerence.
3 AL No. After. 3 Q, You would have found ont that the
4 ‘Q. And is there # reason thaj 4 cheek was fraudulent within 24 hows, correct’?
5 Mr, Holvar - is there 9 rasan Ibat- you're 5 AL} did,
6 aware of that Mr, Holzer would have created 4 6 @ What did you then do?
7 Ireuduleni document like this at that timc? 7 A, ‘Thava when 1 hired ‘Thatcher,
8 A, [t's fara ty undénguil bow he a Q. The next day?
i) could lave done f.and think be could have 9 A. Malinm. Well, actually, that's
16 gollen away with it, bee it happened that be io probably nottruc. | wvene tt-== what's his
11 knew thal the person. ftom Tange was. koming over ad panne’?
120 and she was looking fv the funds that he.was 12 MB. POLKENPLIK: Howard Wilson.
13) supposed:to be contributing. And t suspect that 13 A. Howard Wilson,
140 what he did was, he wrote this -- he phonied up 14 MR. FOLKENELIK: Proskauer,
15 this deposit as away of pulting het aff saying 1s QO Lsew-that. fs Proskauer a law
16 it would-take-aday ar so to doar, Whatever 16 firm with which you had dealt previously?
27 the bet] thal meant off a wire] have no tied, i? A. Proskaueris the Inw firm that
18 @. Now, wliy wauld jhe money be guing 18 dealt with PEGS. :
15 ta Tango? . 18 @. What's that? :
20 A. We committed to invest in Tango, av A, The Federation of Employment
21 QO. Wher vat indicated a woman way 21 Guidance Service. It's the largest social
22 coming over frou ‘Tango = a2 service agency in New York City if you exclude
23 A. She's the CEO, 23 ihe hospitals. 1 was chairman of if,
24 O, The CHG wanted a cheek lor further 2a Q@. FEROS?
25 investment in Tange. 25 A. Yes. spent a lotof lime with
. - [Page 119] {Page 121]
[31] {Pages 118 to 121)

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“@ = Do-you ceall Mr: Thateher’s first

MR. FOLKENFLIK: Toby.
@. And how long did you deal with
Mr, Thatcher before the document that we've
identified here as --

   

 

Proskauer, i Thatcher.
0.  Andthe genticman - 2
A, Not Heavan! buts couple other guys. 3 name?
Bul they recommended Howard. 4
Q Right. Mi. Wilson was one af thet &
gtiminal fawyers? &
A. Yes. 7
GQ & Neon de

 

 

 

 

chins.

ME. FOLKENFLIK

eo UES IRAN GT

      

      

 

 

 

 

 

 

 

A. Yes. 42 the Thatcher draft?

Q. So0-you had initial concem that LZ 4. The Thatcher drali. :
there was some criminal liability chat could 13 A. You mean this-one here? :
extend tothe firm and to yourself personally? 14 MR. FOLKENFLIK: Lixbibit 7, Which |,

A. Wouldn't you think so? 15 isdated 11/1. .

@. | agree. 16 A. How tongdid I deal with biar?

A. Okay, 17 MR. FOLKENFLIK: The witness

Q. New, of course ndl asking what iB testifiud he went to Thatcher ihe day after the:

Mr. Wilson's advice to you was, what did you is check houriced,
then do? 20 O, Dewe know the dile ihe check

As I retained ‘Thatcher, { needed ta 21 bounced?
see.il there ~ Iwanted to-see evidence of what 23 A. No, but I could find that out. tt
was happening and if there was something to be a3 was October ++ Fin not-sure. Eaves 09, ft
defended against. 24 should be in the notes that I have. L

. How did Thaccher came to vou? 25 G. fr sure i's ihers. [Let's find 2

iPage 1221 [Page 124] |,
2 A. Theough Wilsen, 1 the date, |
2 &. Wilson recommended Thatcher? 2 ME. FOLKENFLIK:. It appeurs to be.
4 A, Yes. 3 that the cheek hounved on the. @th of dunce. On
4 Q. Now, bad you -had conversations with 4 ihe Sth or 4th of June. Sceit.on BF 33. And
5 Mr. liolzer before you went lo Proskauer relative 5 the repent isdated 11/1.
6 io the entire extent of your relationship? & Q. Onowhose advice wus if lo begin the
7 A. You mean to Wilsen'? 7 daily diaries?’
a O No. Bid you have conversations a A. J don’t think it was arivenc’s
$ with Holzer, When the check bounced -- 9 advices. Haves me writing if, But Ethink ance
10 A. No. Hetause.it hounced the next iG i started, and | think | showed it to Taby, 1
ik day, be wasn’, in. ii think they suid comliiuue.
12 Q. Did you see hlim hefore you went te iz ‘@. ‘They indicated write thé diary?
i3 Thittcher? a3 A. [think they.told- me (Mat il wa ssn
14 A, [id | see bine belore 1 went te a4 a bad ites, New, they alse did their own
is Thatcher? I don't know: | don't think so. 15 independently of reine.
24 Q. Naw, Thatcher is not an allarngy, 46 Q. Su there is other documentation,
i? A. He might be, bur they're nat a law ve that may oxist --
18 firm. 1g A, Youtre looking at it.
is Q. They don't practicc ag a law finn, 19 9. By that] moan is:there other
20 A. ile does private investigations, au documentation heyond what we've identified here.
21 Q. Whe did-you deal with there? 21 is there @ final eepert, is there’a further
22 A. Thateher, 22 investigation’? Is thete a sicle investigation,
23 Q. Mr. Thatcher himself? 23 anything of that reiture?
24 A. Mur-hrevn, Aint: his right band poy, 24 A. No, I mean, this basically
250 TH ithink of it ina minute. But mainly 25 — encapaulules everything, Was iberé‘atinal
~ _lPage 1231 [Page 125} |
[32] (Pages. 122, to , 125)
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Gaciuvent that he gave me?
Q. Yes.
fs. U"te sure there was.
MR. CONWAY: Thy counsel, die
ducument thal you extended is called a ‘TA draft.
MR. POLKENFLIK: That's corrvet,
MR. CONWAY: Do we know if there's
& final issuance?

 

Oo si om Uo i A be

this waiver of notice of organization meeting,
-Fingerhut-Holecr, Waverly LIac?

 
  

«). ‘Thers were a series of documents
that Were marked on our break, Can you identify :
Eahible munber 8. L

A. don't know oho this person is:

MR. FOLKENPLIK: Can vou identify

  
  
  
  

 

Avcond Hott comember this. Butis

   

 

 
 

 

@. Now, this particular decument whict

 

Q.  Deceinber 27th, '03,

 

 

 

12 we've identified, when did you sec it for the 1a A. What is this? Tdon't know, This

12 first-tleic? iz is-part ofthe creation. af the document? |

1a A, This document? 3 cdva'l know what this is.

14 O. This decument, 14 Q. No, iLwould not have been, !

13 MR. FOLELANULIK: By the document fe | 15 A. lencan-nf the organization. |

Le just means the first pupes -- did vou.sae it at 16 MR. FOLKENFLIK: Counsel, this :

1? or about the dile itis skated, LI ES/077 LF appears to he 4 document that comes from the

18 A. Yes. But! saw it.many times 18 office of the Scerctary of State of Delaware.

41a helore that. 18 No. it's lel me see, New York: [appears

20 O They showed you belo? 20 to he-arvalficial document establishing the

2i AL Yes, but] alsy had-a loted 21 organization Fingerhut-Hotscr, the Waverly | :

22 conversations. Thoy also came te the office. aa LLG, :

a3 they towk egiart his hard drive, They did a lot 23 MR. CONWAY? Rather thats go theouah |

24 of work. 24 the witness, do you want to stipulate th that?

25 Q. Now, all of this. predates your as MR. FOLKENFLIE: We'll look online
[Page 126} [Page 128]

a 2oing to the district attarncy. i and if it's. ae olficial doeunenm, we'll

2 MR. FOLEENPEIK: What does "all of 2 stipulate to it.

3 ibis” mean? 3 MR, CONWAY: Ui-sire it's correct,

4 Q. The efforts by Thatcher Associates 4 @. Did Fingerhut-Holzer have an ‘

a predate your going lo the district attorney, 5 investment. that was knows as Vingerhut-l loiver, :

& “  Pernet sua that l waited untit s 6 ihe Waverly 1 LLC?

7 final reporl before L wont. But clcarly 7 A. [don't remember.

8 Thatcher prerclated the district Alar. ne 8 @ You don't recall that?

g doubl. Pmean, [hada feeling that they were 8 MEL FOLRENFEIK Counsel, F believe |:
16 right, 10 dhat's the entity to whieh your client wired :
Li Q. Now, when thoy came itr: whei LL their $306.000,
i2 Thatcher came in they tovk apart from Holzer's 12 MR. CONWAY: Agueed,

13 computer? 43 Q. And you dort have aay recollection
14 4. Yes. 2A gt it?

15 G, Did they MR. FOLKENFLIK:- The witness
16 A, Well, tbe hard drive, teady testified. abou! ihe Waverly,

17 {J Did they take possessicns af i? As oA couple times.

28 &. ‘They did and then they brangh fe MR. FOLKENPLAK: Che question is
is back. ¢ precise name and identity of the

20 Q. Did they taki: possession of his ganization, since there were so many with
21 phone? Zu vonlusingly simlldr names,

22 4, Eden't know. | don't want to add 22 G. Did you have multiple Waverly

23 any titillation here, 2g hivesimenis? .

24 (Fingerhut Exhibit 8 for 24 A, Di? Did Pmake them mysett?

25 identification, Rates Na, BV $4 through $7) 25

ee [Page 127]
[33] (Pages 126 to 129)
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Q. Did Fingerhut-Holace have multiple

 

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Waverly investments?
A. Telleve sa. J’ aol gure en
Waverly. A couple of them we did.

MR, FOLKENPLIK: Uf you look at
Exhibit number 3, the witness just ta save line
ean identify «-

A. No, that was Waters Edge,

MR MOLELAULIK. Vowepd

jbabmaay:

=

POR

mm to om Oro d& tat

    
 

        

 

 

amengs! Those agreements, we've produced it.
A. This was-only =
MK, VOLKUENFLIBK: Anel | beHeve we

die. T think this was one of several documents
we praccec io you, and here's another one
that's the operating agreement for
Fingerhot-llolser Partners 1.UC that hears an

23 Li s: wakes ] elie
: oMReLa WAY
we-heve that What we have is lhe

eas

  
 

iden'thelieve that

 

connection lo the same developer as the Waverly.
li Why dan't vou do that. 12 Fingerhut-Holzer Fund tinted partnarship
12 A. Weil, Waverly, Waters Edge, Village he ugreetnent at LOG.
2300 Walk and Augustine island are all (he sume 13 A. Well, all | could say is this is
a4 developer. All in Jacksonville. 14 the second document [*ve seer thal referg te
25 (Fingerhut Exhibit @ for 16 Fingerhut-Holzer Partners LLC being formed in
16 identification, Mates No, BE 38 through 89) 16 2004, Becuuve there's anolher document already
a7 Q. Now, take a look at Exhibit 9. 17 that we looked at.
ig What is Exhibit number 97 ig Q. Yes, we've seen il,
49 A. You just gave it to me. 18 MR, FOLKBNFLIK: TU double-check.
20 OQ. Yes, what ts it? 20 A. Look al the first paragraph, you'll
21 MR. POLKENFLIK: It's the operating 21 ace.
22 agreement of Fingerhut-Holer Partners LLC. ee MR. POLKENFLIK: I'll double-check.
23 Q. And is this the aperating docunrent 23 And ifwe have an earlier version of the
aa of Fingerlut-Holzer Partners, as best you know? 24 operaling agreement; however. | believe the
25 A. | agseme so. , 25 operating agreement other than = lot me sec
[Page 130] [Page 132]
i @. Sir, would you take a lnek at the 1 lis, Other than whatever adjusiments were
2 date on that. 2 required to be made beeausc of the sale af a
3 A, October 25eh, 2007. 3 so Lapital contrition by Andeew Mrgerhut. chat
4 Q. Now, this documenl was created 4 ihe nature of the terms of the agreement arc
5 alter you determined that Mr. Helzer was acting 5 probably quite similar,
é dishonestly witht the company. Correct? For 6 @. There came a time after June 2007
7 whal purpose would you create an operating 7 wher you met and sul with Mr. Holzer, On that
a agreement aller there is a (racture of the Cin & occasion did you make inquiry of bim.concerning |
a auvh as you have described? 8 the nature of bis actions iti Pingerhul-Holver
ig A. This is really vol mything bo do 10 and the cheek for $33 millon? Did vou ask him
Li with him. This is me selling a membership: 12 whill wae poing on?
12 interest to my son. Uo you look under 12 A. A oheck. for what!
13 "recitals." ‘This was not the fest formation of 13 (. $33 million. The deposit slip for
14 this thing. This vperating agreement goes back. 14 $33 million,
15 OQ. flow far. 15 the Oh. okay.
16 A. Elfvetive June 21, 2004. 16 Q. Dil you meet with hin and did you
i? QO. Da vou have a copy of an operating i? discuss it?
iB agreement dated June 2&, 2004? 18 A. ‘Yes. A few litoes.
9 A. Not on me. i9 @. What did Me. Holzer indicate to
2g Q. De you siill have one? 20 yeu
21 A. Tien agstaning | de, ; 21 A. What did he indicate to me?
22 — MR, CONWAY: Pd ask that that be — Q. Yes,
23 produced. | 23 A. He said itwas real,
24 MR. POLKENFLIK: We produced what | 24 @. le said what was raat!
2h we were able to locate, And ff that isi | 25 A. The 33 milion.

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[34] (Pages 130 te 133}
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very kind of bullshit excuse you could aink
ol Were any af them credible? They weren't.
MR. POLKENFLIK: Counsel, if you
look at the Phatcher report, Ht says that the
deal keeps gctting delayed in the summer.
MR. CONWAY: FE understand, § saw

   
  
  

MR.. FOLKENELIE>..

 

 

 

 

i @. And did he alletnpl to explain avay i

2 ie absence’? 2

3 A. Ty absenoc or it. bounced 3

4 Q Ns sotexistence, 4

5 A. He actempeed ta. 5

6 @. And whal did he say about ir? &

7 A. {| don't remember offhand, bull 7 it.

8 bn py ! : ol

iton th transcript.
a4 A. Well, you'r going to have to pet Li
az ito? ol there because | don't remember. 12 foft,
13 Q, You want us it read Ht again’? La
a4 A. Do what vou want. 14 ‘Toby carmering bia.
15 MR, FOLRENPLIK: IE "by. the toles” L5
16 you mican the TA draft ov the diary? 16
1? MR, CONWAY: I presume be means the LT
14 diary nates. 16
13 MR. FOLEBNELIK: Well, there are 1 194
2n notes lele enough. The latest diary note ts 20 everything,
21 RTO, 21
23 A. Then it's in the'TA. ‘Velfme what a2
a3 You want lo get. 23
24 @. What T want to know is what did 24 were here today.
28 Mr. Halzer explain to you about his actions! 25
[Page 134]

i MR. FOLKENFLIK: Did he say 1

2 anything about why he wrote a $33 million check 2

3a ibal bounced? a

4 A. Of course, ‘The deal broke ut this 4

3 or that, He was ombarrassed about not admitting 5 firm.

6 ta me that the deal didn't happen ao he waned 6

3 lode at. [wes absird, 7 a wire,

a ‘The deal didi't happen; lowever, g

a were there properties that he had purchased with 8 you're allowed,
it the mowies ihat had been extended? 10
Li A. Were there properties that he had Li abel.
12 purchased, 12
13 QO. Yes. i3
14 A. With the monies that had beon 14
15 extended, 15 lhel. Never mind.
L6 Q. He had 20 properties there that 1é
i? he's supposed to have purchased, Did he 1?
48 purchase them? 1B
18 A. Obviously not, 29 Exhibit LE
26 @. Did you ask him what happened mm 20 A. Okay,
21 the money? : 21
22 A. Yes. 22
24 Q. Whar did he say? 23 Phe doesn't pay,
24 A. He told me the deal broke, he told / 2a
25 me, you knoe, the check gel lost in the rnait, 25

[ Page i a5]
[35] ‘(Pages 134 te 137)
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admits that the Dellwood investment docs not

exast ond ihet he hay anly approximately $40,000.

A. That was] believe a function of

 

MR. FOLRENFEIKS Yea,
0. And how did that come to be?
A, lle came iia the office, he and
another guy went in and talked to him. ‘They
were wired, David admitted i He confessed to

QQ. From June until October be was
still continuing to perpetrate the fraud?

AL Wea. And be would continue i he

G@ Do you know the identities af the

{Page 136)

 

 

pariles that came and confronted him in Octaber?
MR, FOLKENPLIK: It's in the notes.
A. Lincaln Qrastan; Goad any,
Linvaln's not there anymarc. He started his own
Hat Taby and Lincoln. By the way, |
never realized you could do that, vou could have

Yes, in the State of New York
A. Enevor realized that. It was

MR. FOLK ENELIK: Caudsel for the
record, you'll see ihat as late as
September Pth -- excuse me, I'm wrang about

Fingerbat Exhibit £1 few
identification, Bates No. BF 8 through 13)
©. Sir, wend vou take a look at

@. What is Exhibit 11?
A, It's an assignment of his interests

0. ltew did you come io negatiate thae?

A. Lealled ey attorney. Ttald hin

 

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OO <F te UY d& Lb RO be

put it together. i
@, And your autorney is named wha? 2

A. EBovinPrakke, 7 think he did a 3
really good job on this. 4
MR. FOLKENFLIK: It's a good joh, 5

&.  Ieisa good document. He's only &
$330 an hour. 4
53... 4 8

 

Aesulvalabanother time.

that he bought sith $400,000 chat you suggested
was your clicnts’ money, which is incorrect, -
leaving aside the issae of whether Mr. Fingerhut
pursuant tt the collateral assignment agrecment
would be a bona fide purchaser for value withoul
native af the --

MER CONWAY: An issue to be

 

 

 

 

 

  
   

ya oe
this. He forced -- he didn’t force, |

  

 

 

 
  

Avi peat
aside, that stock is worthiess.
A. Also L bought stuck mysell,

MR. POLEKENITIK: Yes, he bouphe
stock hinweclf. Phat stock is -- the company is
OL itt business, The debtors af the SOnTpatY --

MR. CONWAY: Well it was in
business tit 2007,

MR, POLEENPLIE: Yes. Bat not
since.

MR. CONWAY: Andit hada value on
October of 2007 --

ME. POLKENELIK: Mot much.

A. Thavea $2.3 million investment
hene this worthless.

GQ. [low many shaves of steck did you
arn al the dime?

 

 

A. Jdentknow, | have no idea. |
owned a lot because | bought a big picec of tis
peterred olfertrg,

MR. FOLKENFLIK: It's not clear
that the stock, although tt wes Leading. had
actual valuc in October 2007 but it would bc
irrelevant in acy event,

A. That's trac. This was neta
pablic ~

MROFOLKENFRIK: ¥ Canunus was
public,

A. “This was a preferred + this was.a
private offering, if you will, This way not
puhlic shares,

MR. FOLKENFLIK: Your shares.

A, The ones purchased. | also owned a
let of common, ine.

So the-value of ¥ Campus at the
time would have heen greater than the $2 nofllion
iinvestenent that had been macde-aheady?

MR. POLKENFLIK: Maybe less,

ME. CONWAY: Possibly, but we deat
knew.

A. Trvnot sure, Tdon’t think a lest
more, Hf that.

[Page 140] |

 

 

 

Lc ig
aa to Holzer, be signed it, Clearly none of this 12
12 happened, putting up the cash, so therefore ] 1
13 took back whe essentially I had already 13
14 invested in, in a sense for him. 14
15 Q. Was is stuncd by both parties: Ba 2S
16 you recagnize your signature? is
a? A. Yup. LT
18 Q. Po you recognize David Uolzer's LB
19 signature’? £8
20 A. Yup, [ suve de. 20
ad Q. Now, the purpose of this document a1
23 was to establish what? What did you wantlo | a2
23 accomplish with this? 23
24 A. T wanted to have a contingency in 24
25 case the monies were not -- that T had put up 25
[Page 138],
1 monies for him. He had ownership in certain 2
2 positions as 4 function ol munies thal he owed 2
3 und was supposedly paving. And! basieally had 3
4 that to take those properties that 1 already 4
& boughi for myself. 5
3) Q. Now, did Mr, - ibis happened &
T belore the confrontation with Mr, Thatcher? ?
& A. F don't resnember the date on that. a
8 . rd day of Oeteber, 5
20 MR. FOLKENFLIK: And the mecting, 16
Li aceording to the — 11
12 A.  U'subout the same. 12
a3 MR. POLEENILIE: [fs about dre L3
14 sie date. Jt just says October. Thatcher ia
15 doesn't have the date-in Qeteber when he 15
16 confronted Holzer, 16
1? A. And it (act -- no. E's related L?
1a but] don’t think Toby was dircetly involved in. 18
1s giving that documento Holeer, 18
20 Fingerhut Exhibit (2 for 20
21 identification. Hates No. BF 14 through 18} ai
22 a}. Now, there was also = 22
23 MR. FOLRENFLIK: Counsel, just to #3
44 take your life casicr, the aSSipivient, as 24
25 Mr. Fingerhut said, of the V Campus equities a5
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beepers

 

L @. Well, if it was worth a stated
2 valde or mors, then certainly the $506,000 that
3 was transferred would have been its value as af
4 the day of ibe trinslet fo you.
5 MR. FOLKENFLIK: Wo.
6 A, What does -- whal dees transfer to
7 me mean? There was no transfer te me.
a MR, OL
CONWAY: Do you wanl io go oll
li Lhe reeard?
12 MR. POLKENIET IK: Lens decit on ihe
i3 record,
14 A. Lat me explain the whole thing ta
em) yore,
1é OQ. Tt has to he in response to 4
1? ques lion.
18 MR. POLKENFEIK: (Led Him explain,
is Would you explain what happened. Go ahead.
2a Q. Firat, thie document thet you've
24 exuniined, the ~-
22 A.  Contingeney?
23 The collateral contingent. That
a4 was Intended ty you to jake comrol and
45 possession of the interests of Mr. Holzor up to
[Page 147]
1 the value that you had extended to Him.
2 _ ME. FOLRENFLIK: No.
3 Q. Which was like 7 million --
a A. ht was to take control of those
§ interests in the event that the value fad not
been paid, Not up io the vahuc, not contingent
7 on a particular value, Contingent on
8 non-repuyment of what he owed.
8 Q. There was alsa a promissory note
40 dated October 9th, 2007 far the sum af
il 47,603,800,
12 (Fingerhut Exhibit £3 for
13 identification, Bales Nu, BF 15 through 18}
14 Q. Can you identify that as the
is promissory oole thal was created by you ag a
16 companion document
i? A, What a joke.
ia Q. to the prior’?
ig MR, FOLKENFLIK: This is 7%.
20 A. What abwurt iv?
21 Q. ‘That's intended tu be a supporting
22 documens to the contingent assipnenerd of equily
23 inlerests,
24 A. | believe so.
25 Q. That would essentially make him awe

[37] (Pages 142 te 145)
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[Page 143]

Mm ~~ om te A pe

 

ID

il
i2
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18
13
20
21
23
23
24
28

SO wm om ba A Re

MOA OR AON RO Be pp pe pe get fat pe
Ge WM! Oe Oa mh im Wb NG Oo

yon Et twee Ways: a pratnissery note and the
contingent surrender.

A. Good Juck.

QO. And at the same time did you demanel
and receive a resignation iy Mr. Holzer from
Fingerhal --

A, lewas a lide bit aller | think;
i bout

 

B

 

 

   

 

2 oMRoPOLKENFHIK irae
Octoher (5th. ‘The pramissory note is dated
the Mh: The contin cnt assignment agreement is
dateak ghee Jel,

4). Was all of this executed at the
Pingerhtul-Holzer offices?

A, 16 mus) heave been because there's
no other place | could grab him.

Q@. De yeu have a presenl alive
recollection of heing present: for this
excention?

A. Gh, sbsehutelh. Ina wondering if
it was the game — mp. IL wasn'l he same day as
Toby,

 

MR. FOLRENFPLIK: Mir. Holzer did
deliver, just lo shoricut lhis, Iwao cheeks
agercgating the amount of $7 million an ar about

{Page 144]

 

November 29th, 2007, both of which bauneed,
ME, CONWAY: November 24th?
MR. FOLEENFLIK: Yos.

A. When this wag all brought to bin,
he suid, well, you know, ve Just bees hined
for = to be a trarler, | guess he had lefi
Breen Murray. [don't remember how that
happened, Tut he hac just been hired tay sare
big shot trader and he was gctting a? or
$8 million up-front bonus, Acnd he was going to
pay me the $7 million to ametiorate this issue.

@. That's what he told vou,

A. Noa, he sent me twa checks, $7
million, aod guess what, they bounced, toe,
Next thing, going to Sing Sing.

@. Did there come a time when -- DOW,
completing these eansactions, had you decided
to approach the district attorney conexTing
this?

A. Yes. U had to be sure that Toby
could find what cme neared te present to the
district attorney,

Q. And did you approach the district
allorney yourself or did Mr. Thuteber di it for
you?

 

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A. Vin sure Thatcher did it, | mean,
| may have been wilh him, but f don't remember.
@. Well, do you have a present active
recollection of walking inte the district
atlorney's office and sitting with somebody’?
A, No. [never dealt with a district
allorney, I deslt with an AIDA.
& Well, as an agsislant district

  

 

   

MM ~1 mm Of om Gt Rr. Re

 

At aome af -
Lh A. Yes, a couple times.
12 @. Who did you sit with?
La A. Eknew you were poing to ask me and
14 ] faront her native,
15 Q. Is that Ms. Pane?
16 A. Wes, What's her first name?
L? Q. Christine Payne.
is AL Yeah, thas H. She tell lar --
18 QJ. She was pregnant.
20 A. Yeah, yea, She teas great. She
24 did « great job.
22 4}. Did you then deal with the

23 suvecesor assistant distiet attorney?
2a A. Yeah, but the oajorigy of the work
25 was-done by Chris.

 

 

[Page 147}

 

[Page 146]
a O. Doyen recall meeting any
2 BUCKESsOT?
3 A. Fim nat sure F met her, | talked
4 te her,
5 Q. All righe, did there come a time
& whee you were asked to testify do the grand
7 jerry?
5 A. Yes.
9 @. And. did vou de so”
Lo A. Yes. Chris was f think still the
il ADA ont that,
12 Q. She handied the questioning of
13 YOU a+
14 A. Yes.
15 Q. -- as a grind jury witness?
Le AL Yes.
Ev &.  Whon was the last links you saw
18 Mr. Holzer!
is A. Vee net sure iit way the aay chat
20 Toby and Lincaln came in tn have him confess.
21 There may have been ene more day he was ts that
22 ke gave me these checks, No, you know what,
23 that's not right. This was independent |
24 believe of Toby and Lincoln, This atight have
25 been a week later he was.in. Thad id all

 

  
    

1h
L2
13
14
15
16
1?
if
1s
20
21
a2
23
24
25

7 PRP Dm in d& da +

Wo WON RR eB pt pk et feb pak pet fet
& NH OY Ma AO hw NM eB oo

28

prepared ancl] wasn't going lo det hivn get out
without doing this.

Q. Myr. Prakke’t

MR. FOLKENFLIK: When the witness

said “this” he was pultting te Exhibit £3,

A. Tim sorry, dhe cantingent and the
promissory nate,
. That was created by vour atiorney?

 

@. Mr. Prakke?

A. Yes,

Q.  Whenihey were execuled, they were
executed solely in the presence of Mr. Holzer
and nat with anyenc elec?

A. Tden't know,

Q  Pdidn't see 4 witness there.

ME. POLEENPLIEK: | didn't sec a
oly certificate,

A. The contingent thing, there's just
vo signatures I know, Holger and. myself

@ Allright, now vou were making
reference ta this in some regard?

MRO MOLKENWPLIK: No, he said there
wen only two signatares.
A. That waa the neat {ime | sav

Fialver, He signed thai, the pote, and 1 helleve
also maybe he was in one later dime beeause when
he did his resignation, { don't remember if it
was the same-date or not. Edon't think so, il
was later, [dul sot much later, So mayhe [ saw
him once ar twiee after he confessed.
@. Now, as regards the V Clamgris
stock
MR. FOLKENPLIK: Could we ge off
the record fir a minus’?
MR. CONWAY: Sure.
(Discussinn eff the record.)
@. Bo-you know whe the founder of ¥
Camyris was’?
A. Tn notsure. | keow the guy whe
was Finnie WH lor many years,
Q. Who was that?
A, Ol covese bonn’t rementher his name
either. Nat Kannan.
Q. Nat Kannan?
A. Nat Kannan, ReA-N-NGA-N,
QO. And you indicate you seene an the
baard af ¥ Clarnpus?
A. ‘That wag about four dr Tee years
before that,

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[38] (Pages 146 to 149)
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[Praga L49}

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those days, probably a 3, 4 million investment,
ua ld was probably 25 to 30 percent post Weekly
owned af University Oaline,

(. How mary shares did
Fingerhia-loleer own al its peak’?

A. ‘They never cvened University Onfine.

 

 

 

 

 

    

  

AJ ¥ Campus. ‘That's after they
changed the name, U1 wasn't the same company.
They bought a suniher of alher companies,
The company that went public is pot
che sare company as ¥ Campus?
A. ‘The company thai went public was
University Online, ‘They boualst at least bve
other companies and then chunged their rian to ¥

@.  Adlright. when they became V
Cangas wheal was their stock value?

A. Edon't know offhand. Prohably not
a great deal different than when we sold

O. And wheal did you sell it lor?

A. As) said] think in was like 25,

30 milion. Actually, it was probably more, |

dail know. Tdon’t remember. TH wasn mistake

{Page 152]

 

 

 

 

to buy it chen beeause clearly tt went down a

lol. Wha ended up happening with the autnpary
had nothing to de with the equity value, What
happened was that the company wag really,
really, really poorly run, However, dhe Pra

Sait product was a terrilic produce. [t's 8

MR. FOLRENFPLOK: Just tlk shout

what happened i ihe equily in the ecanpary.

A. Okay. well, what happened was it :
was mismanaged. Never genersted ynonh cash aul |
was always in a piexilion of irying to get cash,
get new equities, e¢ cetera, et cetera. ‘That
was ihe preferred pieec that we show In there,

Q. 0 And then --

A. Wait aminuie Pm noe finished.
That didn't work either, Phe cotupany was in
mally sorry shape, P ther tent the company

QO. How much?

A. Edon'iknaw. 4 millian dollaes,
maybe nore. 1 waan'l the ently one. ‘There was
another group called Gatt Betar,

. Gul Rettor?

AL Yes. CORT), BeBe Pe peut They

{Pages 153)

 

 

1 MR. FOLKENFLIK: He testified be 1
2 was ont ihe board when ib weal gublic. 4
3 A. Right, from abont 1993 to -98 oF 3
4 9, 4
5 4}. Was ¥ Campus aililiated wilh any 5
6 particular university’? 6
ATTY ?
i 7
8 A. [don't think 20. 9
19 MR. POLIENFLIK: § think the ¥ 10
Li stands for virtual. il
12 &. fils first name was University 12
43 Online. Ef that's what you're Uninking, 13
414 Q. That was its formal name. i4
35 A. Yeah, ifs a Htth complicated 15
16 because they baught dumber of companies, und Lé
i? one of the companics they hought-hecame higger | 17 Campus.
ia ihap tiem, But they were initially called 18
is i Iniversity. Cringe when we Invested in iL as a8
20 low asa Weekly investment. When it went 20
aL public # wus still called University Gating, 21
22 @. The it have any call letters that a2
23 vou would know on the stack =» 23
24 A. UOLC libink, I mean, it was 24
25 overthe-courter, They chen bouwlit a series of 25
[Page 150]
1 companies, ong was called Pro Soft, and there i
2 was a second. And Ethink al the ime they 2
4 bought the second » the first or the second 3
4 company. lhey renamed the company to V Campus 4
5 because i was mans chan jusl a Lintiversity 5
8  Quline. , &
7 Q. And do vou know what it was t CEY ~-
B capilalived al when i wend public? 8
3 MR. FOLKUNFLIK: By "canitalivad” 3
1Q you meun the marker cap? Lo
11 ). Market cap. ii
12 A. Ob, lord, 1 dow't, [world say it 12
‘13 was probably, given where we wore 45 an drvestor 13
i4 where we hel probably no more than 10 nillion 14
15 pre on the Invesirent, | wold say it was Ls
1é probably somewhere in the 25, $30 milion range 16
17 when i wenl public, 17
18 Q. When you say 16 milton preferred, 18
as you had 1) milion shares? LS money,
20 A. No, 10 million pre money in the 20
21 value. . . 24
22 Q.  Heny many shanes = 22
23 A. This dy all long prior to the 23
24 ovents at issie. T wenkl have to pus buck and 24
25 look at it. But givon what we would do back in 25
a. {Page 151}
[39] (Pages 150 to 153}
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4 loaned the company money, Ploaned the company L ME. COR WAYS Give me a fiw minutes

2 money, ‘Phe company couldert pay iboft As ¥OR a will my cligees.

3 Gan see, Nat had pretty good ideas ahout whss 3 (Reoess taken.)

4 the company should be, bul it was terribly 4 BY ME. CONWAY:

8 managed. iut it wasn't post chat, thers were & G. Ne ture auestions.

6 other issues, too. 6 MR. FOLKENFLIK: | have nothing.

nw | pues ag:

g friendly foreclosure, Tm taking a couple 3 :
16 years ~ it sounds like II happened right away ig :
Lk but this is years larer. And the frendly ii q
Le foreclosure was all the equity was wiped out. 12
13 This wasn't a hankruptcy, slthough the way the 13
14 ditectors handled it, i was terrible. 14
is Q. Weill, who wos foreclosing? 15
16 A. ‘The debiors were foreclosing. 16
29 ‘There was nol eneugh equity to go around. Sc LY
18 every share E ever owned is gone, 18
as Q. When exactly did this occur? 28
20 A. 2008. * 20
21 @ This would be aller tbe date of ai p
22 pursuant to your agreement with Thaler -- 22
23 A. Tgot all the shares back and they 23
24 were worthless, That's good. a4 |
25 Q. Where was the siock held at the 25

[Page 154] [Page 156]

d rnc of the transfer back? 1 INSTRUCTIONS TO WITNESS

2 A. Where was the glock held —- 2

3 Q. What was Fingerhut-Halzer holding? 3 Blease read your deposigion over

4A Were they holding warrants, stock sheets? What 4 varcfully and make any necessary curreetions.

5 were they holding? § You should state she reagan in the appropriate

& A. The only thing they were holding 6 space on ihe crrata sheet for any correstions

7 was this preferred issuc. 7 that are made,

8 Q. And in whet torn did it maniliest a After doing so, please sign the

8 itacl!? a errata sheet and dale i,

10 ME. VOLKENPLIK: You mean were 19 You are signing same. subjcet to the.
LL there actual shares tssned’? 13 changes you heve naled ont (he errata sheet,
12 MR. CONWAY: Yeu, 12 vehich will be attached to your deposition.
13 MR. FOLKENVLIK: Posical shares! 13 EL is imperative thet you relarn the
14 MR. CONWAY: Yes, 14 original errata sheet to the deposing atearney
18 A, Fdon'tknow, Ini net sure, May Ls with thirty (30) days of revvipl of dhe
is have been bat they were not publicly waded 16 deposition transeript by you. [fyau fail te
1? shares. They were preferred! shitres, i? ita so, ihe dcopasition tanscriptmey be dermed
La MR. FOLKENFLIK: They might have 18 to he accurate and may be used in court.
19 heen held as a book entry, 18
20 QO. They would be in an account 20
21 acewhers? 21
22 MR. FOLKENPLIK: It might have been | 22
25 held as a book entry ox the books of the -- 23
24 A. ¥-Campus reported it all sa there's 24
25 gotta be «. they're all in their documents, 25

; [Page 155} {Page 157]

[40] (Pages 154 to L57)
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i | have read the foregoing transcript of i CERTIFICATE
2 tiny deposition given on February 7, 203, and it 2 i
3 is true, correct amd complete, to the best 3 STATE OF NEW YORK } u
4 ofioy knowledge, recollection and hellef. 4 188. [
8 except for che corrections neied hereon 5 COUNTY OF NEW YORK } u
& andor list of corrections, ifany, attached 6
4
f ©
S 5 Stake of New York, de hereby cerlify:
19 Lo ‘That BARRY FINGERUHS I. the witness
12 ad whose deposition is hereinbefore: set forth, was
12 sees os veep 12 daly sven by ene grid that suet deposition is a
13 BARRY FINGERHUT a3 true record af the testimony piven by the
14 14 wailess,
15 15 L furter certify tbat Pam not
26 16 relsied to any of the parties to this action by
if Subscribed and swear to 17 blog or marriage, and that Far in ne wary
18 belore ine this day 18 interested in the outenme of this matter.
a3 of 720 18 IN WITNESS WHEREOP, | have heremnte
20 20 sed my hand this O13,
21 24 :
22 see 22 sn
23 Notary Public 23 SLIZANNE PASTOR :
24 24
25 25
(Page 158] [Page 160] [|
i t INDEX
.y cae 2
2 ERRATA SHEET WITNTSS — EXAMINATIONBY © PAGE
a I BARRY FINGERLILUT, da hereby certify thut f 3 ; _ ; :
4 have read the toregning jvanscripd af ny festimeny, and 4 Mr Fingethor Mr, Conwity .
5 further certify thut i. 15 true and arcurate recard &
. eo EXHIBITS :
& OF thy lestiinony (with lhe excention of the cormections 5 :
a Visted bataw, FENGERHUT DESCRIPTION PAGE :
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[Page 159] _ Page 161] |

 

 

 

[41] (Pages - 158 to 161)
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3 Flngerhatltukeer Partners |

A. Bingerhut-Hol

 

 

 

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8. . Case A:09-cv-10429-VSB Locument 38 Filed'04/02/14 Page 1 of 3

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_’ FOLKENFLIK & M°GERITY LLP

ATTOHNEYS AT LAW

 

 

       

 

1800 BROADWAY
NEW YORK, NEW YORK 10036
“TELEPHONES 2127570400"
WRITER'S E-MAIL: minke nfikgeimiaw,net . BAX: 212-757.2010
April 2, 2014 ;

VIA ECF

 

Honorable: Vernon 8, Broderick
United States District Judge
United States Courthouse :
_ Southern DistrictofNew. Yor... a
40 Foley Square, Room 415 a
New York, New York 10007-1312

Re: Rapillo v, Fingerhns; Holzer et gl, Docket (No.t 09-CV-10429(GBD) - =~

Dear Judge Broderick; ° - .

I represent Defendant Barry Fir rgerhiat (“Fingerhut”) and the various corporate entities named
in the Amenacd Complaint in this action, (Fingerhut-Holze: artners LLC is hereinafter referred to
as “F-H LLC" and the other corperate defexdants are referred to as the “Remaining Entity
Defendants.”) ‘Ihe only other deferdvat, David Holzer (“Holzer”), was criminally convicted on a
plea of guilty for stealing $1.6 milieu from Plaintiffs and over $11 million from Fingerhut, as well. -
as nearly $2 million from others. Hulzer is appearing pro se, oe

 

Plaintiffs seek to. recover $1.9 rniilion they lost in four “investments,” plus “treble damages”
and punitive damages, from Fingerhu:, \7-H LLC, and the P.emaining Entity Defendants, directly, and
not vicariously, for alleged uceach of fiduciary duty and fraud under the Investment Advisors Act
(the First and Second Causes of Acvoi}, securities friud based on Section 10b of the Securities
Exchange Act of 1934 and Rule 10b-5 (ihe. Third Cause of Action), and common law counts of fraud
(the Fourth end Fifth Causes of Action), conversion (the Sixth Cause of Action), and breach of
fiduciary duty (Seventh, Righth, and Ninth Causes of Action). They are suing the Defendants as
principals, yet none of the Defendants’had anything to do with Holzer’s crimes, except as victims.

Tam writing this letter, therefore, to request a pre-motion conference pursuant to Rule 4.A of
Your. Honor’s Individual ules & Prevetices in Civil Cases with regard to a motion for summary
Judgment dismissing all claims agsi:s; ny clients.

The underlying relevant faci7 are undisputed. Wcizer and Fingerhut were in business
together, investing their own money'tn various vusinesses through F-H LLC, Holzer had lauded
Fingerhut's investment acumen to Pie’ stiffs, who were Holzer’s friends. Plaintiffs wanted to invest

 
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POLKENPLIK k M°GERITY LLP
Honorable Vernon S: Broderick

April 2, 2014 |
Page 2 :

 

  

with Holzer and Fingerhut, but Plaintiffs knew that F-H LLC was not accepting retail clients and

 

would not take-their.money. However Holzer had a plan io circumvent F-T] LLC’s refusal to take
investments from Plaintiffs. Holzer told Plaintiffs about certain companies in which, allegedly ,
Fingerhut and Holzer were investing. Because the amount Plaintiffs were investing was “not *
substantial enough,” -for Plaintiffs tc invest directly, Holzer offered to “pool it” with Fingerhut’s and
Holzer's investment i

 

Plaintiffs. were in some sort of undisclosed investment partnership with Holzer. Holzer . ro

evertold Plaintiffs that Fingerhut was aware of this “puoling" scheme, and Plaintiffs admit that they _
do not know that Fingerhut was aware of the scheme. Holzer and Fingergut deny that Fingerhut had
any awareness of or involvement i in Holzer’s frauds. Discovery has not produced a shred of evidence, | »

re

to the co contrary. Tae

  
 

Plaintiffs made four invevtments based on Holzer's advice, The first was a $300,000
investment ina Florida real cgtate limited partnership called the The Waverly 1 LLC, (“Waverly 1"), .
made pursuant to signed subscription agreements, Waverly I fa I failed due to a downturn in the Florida
real estate market. . Plaintiffs have net eee ee oT aesea wor eptnao
The Manhattan District Attorney's office foun averly | investment was legitimate, and
discovery has produced no evidence that it was not.

Plaintifis invested 8. 6 million j in three separate “investments” made by wire transfer to —
Holzer’s personal bank account, he!d jointly with his wife, and then stolen by him (the “Stolen —
Investments”); | (a). ait alleged j invesiment called Waverly If ($ 200,000 ), (b) an alleged investment |

# in a public company called V-Campus ($800,000), and (¢) an alleged investment in a dinner
theater" in Boca Raton ‘whose name the Plaintiff does not know, and apparently never knew (3 —
600,000). There j isn nodo documentation of any nature with respect to those three ‘ “investments.” “|

l

Holzer’ § theta f from Plainti-Yy came to light afer an investigation revealed Holzer’s thefts
from Fingerhut.’ As with Plaintiffs, iingerhut had given Holzer money to invest which, was stolen.
The results of the investigation were taken to the Office of the Manhattan District Attorney, and that
led to the revelation that Holzer had stolen millions of dollars from others, including Plaintiffs.

None of Plein ‘claims can be sustained against any Defendant other than “Holzer.
Plaintiffs do Hot assert that the Rerriaining Entity Defendants had any involvement of any nature in
Holzer’s crimes, or ay ccnnection ut all, direct or indirect, with the Plaintiffs, Other than “group
pleading” allegations; ‘theré is nothiixs in the Amended Coniplaint about them, Those defendants
appear to have been simply thrown fnto the case without any basis, other than some historical
relationship between those Defenda. asand either Fingerhut or ‘Holzer, _—

Neither FE i ree nor. Fingoha arg registred investment advisors, nor are they subject to
the Investment Advisors Act, since t ey did not provide investment advice “for compensation. "15

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Case T:09-¢vi10429-VSB~-DodtuMent 149-1 Filed 08/26/19 - Pagé’26°6f 157r. 4

moons Case 1:09-cv-10429-VSB_ Document 38 Filed 04/02/14 Page 3 of 3
FOLKENPLIK & MSGERITY LLP
Honorable Vernon S, Broderick
April 2, 2014 ji.
Page3S

  
 
 
 

      
       

     

ed into an investment advisory contrzct in order for the Ad risers Act to apply"). Neither
F-H LLC nor Fingerhut made any misrepresentation to, or had any ccrnmunication with, Plaintiffs
conceming the:Stolen Investments, which by itself precludes a disct claim against, them. undér—
Section 10b and Rule 106-5, See, Janus Capital Group, Inc. v. First Derivative Traders, 564 0.S—~
——» 131 S. Cu 2296, 2302 (2011); Fezzani v, Bear, Siearns & Co., 716 F.3d 18, 24-25 (2d Cir,
2013), It also precludes a direct claim of fraud, See, Lama Holding Ca, v. Smith Barney Inc., 88
N.Y.2d 413, 431 (1996); Deutsche Bank Nail. Trust Co, v Gordon, 24 A.D.3d 443, 443-444 (Ist
Dep't 2011). no Ee

 
   

 

 

BOOTS : eae

Neithed Fingerhut nor P-H LLC had a fiduciary relationship with Plaintiffs thereby
precluding the breach‘of fiduciary duty claims, See, De Kwiatkowski v. Beor, Stearns & Co., 306
F.3d 1293, 1302 (24 Cir. 2002)(broker/customer relationship not safficlént to create fiduciary
relationship); Compania Sud-Americana De Vapores, S.A. v. IBJ Schroder Bank & Trust Co., 785 FP.
Supp. 411, 426.(S.1;N.¥;:1992)(ordinary business relationship not sufficient), Neither Fingerhut
nor F-H LLC had ‘or have any dominion or control ‘of the moncy given by Plaintiffs to Holzer,
thereby dooming the conversion claim. Dobroshi v Bank ofAm., N.A., 65 AD3d 882, 885, (Ist Dept
2009), lv dismissed 14 N.Y.34.785 (2010); Eden Roc, LLP v Marricts Intl, Inc., 2013 N.Y. Misc,
LEXIS 4301, 22-24 (Sup. 'Ct. N.Y. Sept. 18, 2013). Holzer used seme of the nioney he received

from Plaintiffs to invest in V-Campus in his own name and to pay $200,000 on an-antecedent $?
million debt he owed to Fingerhut. Those facts do not support a valid conversion claim as to
Fingerhut or Fe LLG.'Cf Sharp Int'l Corp. v, State St. Bank & Trus! Co, (Inre Sharp Int'l Corp.},
403 F.3d 43, 54-55 ‘(2d Cir, 2005) (payment of antecedent debt even with knowledge money
obtained fraudulently not fraudulent conveyance). , No;

 

 

F-H LLC isnot liable for Holzer’s thefis on the (unpleaded) theory of respondeal superior.
Goldstein v.. United Staies, 14 Fed. Appx. 115, 116 (2d Cir. N.Y. 2004) (no respondeat superior
liability for employee theft); Rymanowski v. Pan American World A irways, dne., 70 A.D,2d 738, 739
(N.Y. App. Div/3d'Dep't 1979), aff'd, 49N.Y.2d 834, 835 (1980)(same), Asa member of the LLC,
Fingerhut is notliable for the wrongs of Holzer or the any liability of F-H LLC. “A limited liability
company (LLC) is hybrid business entity that offers its members linited Kiability as if they were

 

shareholders of.a corporation...". Riley v. Tencara, LLC (In re Wolverine, Proctor & Schwartz,
ELC), 447 BR; 35‘(Bankr. D. Mass. 2011), quoting, Ann K. Wooster, Annotation, Construction

and Apolicatioy of Limited Liability Company Acts -Issues Relating to Personal Liability of

   
 
     

Individual Members and Managers of Limited Liability Company as to Third Parties, 47 ALR, 6th
1(2009), | Se whe fo!
on : ip . : mE ue : 7 Respe fully, f
mo Pe PH . ax Folkenflik’
ce: Robert J; Conway, Esq. (via e-mail) /

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WANHATTAN OA OFFICE — Fax: 1242-335-9880 Apr 30 2008 01:34pm P002/006

PLEA AGREEMENT

 

‘York (hereinafter “the Disttict Attomey”) and David Holzer. This memorandutn of Agreement

constitutes the entire agreement between Mr, Holzer and the District Attomey. There are ng
promises, agreements, of conditions, express or implied, other than those set forth in this
| Agteement and in the Stipulation in Anticipation of Discontinvencs in the case of Morgenthau v.
Holzer, ludex No. 400891/2008, ‘(hecematfter “the Stipulation”) attached hereto and incorporated
herein. No modification of this agreement will be valid or binding on either party unless put into

writing and signed by both partes.

2. The porties will appear before the Coust where New York County Indictment Nv.
2280/2008 (“the Indictraent”) iv pending and request that the Court approve this Agreement. This
Agreement will become effective only upon the Court's approvel, Upon the Court’s approval, Mr.
Holver will plead guilty as set forth in Paragraph 3 below. At the time of the plea, Mx. Holzer will

withdraw any pending motions, and will waive all defenses and all rights of appeal.

3. Mr. Holzer agrees to plead guilry to counts One, Three, Four and Five of New York
County Indictment No. 2280/2008. Those counts charge him. with three counts of the come of
Grand Laxceny in dae Fizst Degtee, Penal Law §155.42, a Class B Felony, and one count of the
crime of Grand Larceny im the Second Drgree, Penal Law $155.40, a class C Felony, in full
satisfaction of the indictment. The maximum permussible sentence for each count of Grand
Larceny in the Firet Degxee is an jadetexmainate term of iraprisonment of 8 1/3 to 25 years, and an

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WANHATIAN OA OFFICE © Fax: 1212-335-3880 Aor 30 2009 01:9dp0 POU3/006

indereeminate term of ixapsisoiment Of 5 to 18 years for the count of Grand Larceny in the Second

   
 

Degree, plug applicable monewzy sanctions such es a fine, testitution and reparation. The minus

   
   

   

         

permissible sentence fo
of inpdsonment of 1 to 3 years, and a non-incaxceratory sentence fox the count of Grand Larceny

in the Second Degree. The counts may tun consecutively.

4. Upon his guilty plea, Mr. Holzer will allocute under oath, to the following facts:

Between March 2002 and Apxl 2008, I stole mare than $16 million from Barty Pingezhut, Heidi
and Johxi Rapillo, Michael and Basbaxa Zackman, and Barty Pessar. Beginning in 2002, I invited
Barty Fingerhut, someone.I had known. for 15 years, to invest in Dellwood Partners, en entity that
I represented to Barry Fingechut was malting xeal estate investments. Between Maxch 2002 and
September 2006, Barty Fingerhut gave me more than $12 million to invest in Dellwood Partners.
In fact, Dellwood Paxtners did not exist, and I used that money for my own personal use.

Between December 2005 and March 2006, I took $1.6 million from Heidi and John Rapillo, people
T had known for more than 20 years. I represented to then that I would invest their money m a
movie theater and in a penthouse project. In fact, I did not invest any money on their behalf, I
used the Rapillo’s money for my own petsonal use, and 1 invested some of it on my own bebalt-

Between Novengber 2006 and November 2007, I took more than $1.7 million from Barbara and
Michael Zackman, people with whom I had been friends for more thau 20 years. I represented to
them that I would invest thei: money in a company called Vertex and a company called Consonus.
In February, 2007, I told them dur I would invest theic money in a rea] extate deal in Florida
through a company called Trident. In fact, 1 did not invest any money on their bebalf. J used the
Zeackman’s money for my own personal use, and I invested some of it on my own behalf.

In March 2008, I invited Barry Pessar, someone I had known for about 10 years, to invest ma
company called Versadial. Based on representations thet I made, Basty Pessat gave me $150,000
for the aivestment in Vexradial, I did not in fact invest Basxy Pessat’s money with Versadial, but
used it for my own personal use.

Ip. this manner, I stole rnose than $16 million from the above-named parties without their
permission of authority. . .

 
Case 1:09-cv- 0 | 300
| 09-cv-10429-VSB Document 149-1 Filed 08/26/19 Page 30 of 157

" ¥ MANHATTAN DA OFFICE Faw: 12123359880 Apr 30 2009 04:34pm $006 /006

5. By the tine of the plea, Mr. Holzer will execute the Stipulation in which he agrees to forfest

  
   

the Stipulation to the Distsict Atcomey, 98 Plaintiff-Clainuing Authosty in

 

  

 

Mosgenthay V- ty Index’ 67 400891/2008;.

 

to Article 13-A of the Civil Procedure Law and Rules, The proceeds of the liquidation of assets
will be ordered released to the New York County Distice Attomey’s Office pursuant to the

Stipulation areached pereto and incorporated herein.

6. Ms, Hokzer shall liquidate che particular assets a8 defined ia the Stipulation and forfeit all of
the proceeds of such liqvidedion to the District Atomey. Those certain assess include the house
located at 10 Sky Drive, New City, New York, and the furniture and other pexsonal property
comained therein (hereinatter “the Assets”). Mt. Holzer shall complere the liquidation of the Assets
and forfeit the proceeds to the Disttict Attomey before March 24, 2010, at which time he will be
sentenced. Mx, Holzer shall make nll reasonable efforts to obtuin the highest possible price fox the
Assees. Mr. Holzer shall pay the proceeds of the liquidation of the Assets by banks check payable
to “The New York County District Attomey’s Office SAF Escrow Account,” snd sent to the.
attention of Assistant, District Actorney Madeleine Guilmsin, 1 Hogan Place, New York, NY
10013. Myx. Holzer hereby waives any claim that the adjournment of sentencing, is varceasonable.
If Mz. Holzer liquidates the Assets and forwards the proceeds to the Distsict Attorney prior to
March 24, 2010, the Disteict “Astomey and Mr. Holzer agree to jointly sequest that the Court permit
them to advance the case for sentencing to a mutually agreeable date pxior to March 24, 2610.

7. Should Mr. Holzer satisify the requirements set forth in paragraphs 6 ebove, the Discrict
Artormey and Mt. Holzer will recommend jointly tbat Mr. Holzer be sentenced to an indetesrainare

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WANHATTAN OA OFFICE — Fax: 1212~335-880 Aar 30 2009 O1;3dpm PO0G/0N6

rer of 5 to 15 years incatceration on each -of the four counts to which he pleaded guilty pursuant

to Paagiaph. 3, above, all to run concurrently with each other, in full satisfaction of the iodiconent

 

8. Should Mer. Holzer fail to liquidate all of the Acsets and tam all of the proceeds over to the
District Attomey fox disndbution a desctibed in Paragraph 6 above, the Disctice Attorney sod Mx
Holzer shall joindy recommend to the Court thet Mx. Holzer be sentenced ro a0 indererminate
prison tira of from 6 w 18 yeats on each count of Grand Larceny in the First Degree to which
he pleaded guilty pursuant co Paragraph 3 above, and an indetenntaate prison term of 5 to 15 years
on the count of Grend Laxceny in the Second Degree to which he has pleaded guilty pursuant to

Paragmph 3 above, all to min concurrently with cach other.

9. Mr. Holzer shall not commit any further crimes. Whether such further crimes have been
committed by Mr. Holzer shall be determined exclusively by the Honorable Thomas Farber, of
should he be unavailable, by any other New York County Supreme Couct Justice who succeeds
Justice Farber se the sentencing judge, Should Mt. Holzer viclnte chis paragraph, the District
Atromey may request any sentence authorized by law as set fort tu parageaph 2 of this Agreement,
Mz. Holzer understands that the Court bas the authority to impose any lawful sentence, including

consecutive sentences,

10. ‘The District Atromey shall not be deemed, by any act, statement, or omissios, to have
waived any violation.of this Agreement unless such waivers is put into wating and signed by both

parues.

 
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MANHATTAN DA OFFICE © Fux: 1212~335-9880 Apr 30 2009 01:35pm PO06/006

11. This Agreement is limited to the New York County District Attomey and cannot bind other

District Attomey and Mr. Holzes.

Dated: New York, New York
Apal 30, 2009

  

Davi Holey, Deteg fe

R [a Mi fee tein

0:
Atomey for Defendant

lhe i ee

Hoph ft Nery
Assistant Dismict Attamey

Mich fl (ari

Michele Shulitian
Deputy Chief, Frauds Burean

 

 

 
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Page 1

UNITED STATES DISTRICT COURT

 

 

 

JOHN RAPILLO and HEIDI RAPILLO,

 

Plaintiffs,

-~ against -
BARRY FINGERKHUT,
DOUGLAS HOLZER,
FINGERHUT-HOLZER PARTNERS LLC,
FINGERHUT-HOLZER EQUITIES, INC.,
FINGERHUT-HOLZER, INC.,
FINGERHUT~HOLZER FUND, L.P.,
GEO CAPITAL PARTNERS, INC.,
FINGERHUT-HOLZER THE WAVERLY I, LLC,
FINGERHUT-HOLZER THE WAVERLY II, LLC,

Defendants,

 

 

EXAMINATION BEFORE TRIAL of a Defendant,

DAVID HOLZER, held pursuant to Notice in the
above~entitled matter on the 28th day of March,
2012, commencing at approximately, 10:15 a.m.;
held at Greene Correctional Facility, 165 Plank
Road, Coxsackie, New York, before Cynthia
Schultz, a Court Reporter and Notary Public in
and for the State of New York.

 

 

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APPEARANCES:

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Paga 2

 

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45 Broadway

New York, New York 10006

(ROBERT J. CONWAY, ESQ., of Counsel)
Attorneys for the Plaintiffs

JOHN RAPILLO and HEIDI RAPILLO.

FOLKRENFLIK & MCGERITY

L500 Broadway

New York, New York 10036

(MAX FOLKENFLIK, ESQ., of Counsel)
Attorneys for the Defendant, DAVID HOLZER

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Case 1:09-cv-10429-VSB Document 149-1

TO TESTIMONY

DAVID HOLZER

 

EXHIBIT
Plaintiff's 1

PlaintifE£'s 2

Plaintiff's 3

Plaintiff's 4

 

19
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INDER

MR. CONWAY
MR, FOLKENFLIK

TO EXHIBITS (Retained by Counsel)

DESCRIPTION
Money Transfer Document dated
October 19, 2005, consisting
of two pages
Money Transfer Document Dated
December 15, 2005

Money Transfer Document Dated
January 31, 2006

Money Transfer Document Dated
March 23, 2006

 

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Paga 4

Page 4

1 FEDERAL STIPULATION S

 

 

 

3 between the attorneys for the respective parties
4 hereto that filing, sealing and certification be
5 and the same are hereby waived.

6

7 If IS FURTHER STIPULATED AND AGREED that all

8 objections, except as to the form of the

9 question, shall be reserved to the time of the
LO trial.

ii

 

12 If IS FURTHER STIPULATED AND AGREED that the
13 within examination may be subscribed and sworn
14 to before any notary public with the samé force

15 | and affect as though subscribed and sworn before

13

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Page 5

i THIS IS THE ORAL DEPOSITION OF DAVID HOLZER,

 

 

 

(al

produced pursuant to NOTICE on March 28, 2012,

4 before CINDY SCHULTZ, a Court Reporter and

 

5 Notary Public in and for the State of New York.
6

7 ke ke we RR Ot

8 DAVID HOLZER

3 called as the witness, hereinbefore

10 named, being first duly cautioned and sworn or
11 affirmed by CINDY SCHULTZ, thea Court Reporter

12 and Notary Public herein, to tell the truth, the

 

13. whole truth, and nothing but the truth, was
14 examined and testified as follows:

15 EXAMINATION BY

 

 

16 MR. CONWAY

17

18 Q Would you please state your name

19 for the record.

20 A David Holzer,

21 Q Mr. Holzer, good morning.

22 A Morning.

23 Q My name is Bob Conway, and I

24 represent John and Heidi Rapillo on tha matter
25 that we have before the Court.

 

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Page 6

Page 6

1 MR. CONWAY: OLE the record.

 

 

 

 

 

 

3 (At which time, a discussion
4 was held off the record.)
5
6 BY MR. CONWAY:
7 Q Mx. Holzer, how old are you?
g | A Sixty-two.
9 Q And your date of birth?
LO A 11/14/49.
ti Q And your Social Security number?
12 A 0B7-40-6783.
13 Q And, Mr. Holzer, you and I have met
14 once before. Have we not?
15 A Correct.
16 Q Here, I came up and spoke to you
17
privately?
18 A Correct.
19 Q Okay. Sir, where were you born?
20 A Manhattan.
21 Q And where did you go to school?
22 A I went to Stuyvesant High School,
23 City College, and I went to - after that, I
24 took some courses, about three years' worth of
25 courses at the New York Instituta of Finance.

 

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Q Did you get a degrea from City

Page 7

Page 7

 

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A Yas.

Q In what field?

A History major.

Q What year did you graduate City
Colleqa?

A Finally, in 1974,

Q And did you then move directly to

the New York Institute of Finance?
A No.
Q Okay. What did you do upon

graduation from collage?

A I was working part-time at a place

called Abraham Company.

one question, off the record?

MR. CONWAY: Certainly.

 

was held off the record.)

MR. FOLKENFLIK: Can we
keep this on the record?

THE WITNESS: Yeah. Sure.

 

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(At which time, a discussion

 

 

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1 No problem.

3 has been handed a copy of the

4 Amended Complaint.

5 THE WITNESS; Okay.

6 | MR. FOLKENFLIK: Sure.

7 THE WITNESS: And it had

8 listed -

9 MR. FOLKENFLIK: Could you
10 just start from the beginning?

Li THE WITNESS: Oh. Sorry.

12 Yes. I received, in the mail,

13 | approximately three months ago ~ I
14 can't remember, two months ago - the
15 one-page Complaint. amended, as per
16 | this (indicating), and, on it, it

17 had my family's name on it.

138 BY MR. CONWAY:

19 Q Okay. That was the original
20

Complaint?

21: A Well, why did I get that three
22 menths ago?
23 | Q I'm not sure.
24 | Did you change addrass or
25 something? Did somebody change an address?

 

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Page 9

Page 9

A We changed an addresa only as of

 

 

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Q This is the original Complaint
(indicating).

A I have the original Complaint.

Q This is the Complaint that was
amended.

A Okay. This is the currant

Complaint and we all agree on this now?

I don't care about this

{indicating).
Q Yes. That's it now.
A Okay. I'll read it. It's Barry

Fingerhut, David Holzer, Fingerhut-Holzer
Partners LLC, Fingerhut-Holzer Equities,
angerhut-Holzer, Incoxporated,
Fingerhut-Holzer, L.P., GeoCapital Partners,
Fingerhut-Holzer The Waverly I, LLC,
Fingerhut-~Holzer Waverly II, LLC.

We're all in agreement those are

the peopla baing sued?

Q Yas.
A Vary good. Thank you.
Q Now, the Abraham firm, in what

capacity were you at the Abraham firm?

 

 

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Page 10

Page 16

A I was an over-the-counter order

 

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Q And for how many years did you
perform this service for the Abraham Company?
A From =
I'm trying to think. I was in. the
service, six manths after that. From 19 - May
of ‘69, I was a Junior in high school. Then,
till September of '69, I was full-time at
Abraham Company from -
I had worked part-time there while
I owas going to school, Nineteen-seventy,
summertime - I don't remember what month,
actually - until 1974 when they ware acquired

by another firm.

g By whom were they acquired?
A Lehman Brothers.
Q And did you follow the

Abraham firm to Lehman Brothers?

A I did for a while. Yas.

Q All right. And for how long were
you with the Lehman Brothars?

A A year or so. Maybe less, maybe
more,

Q And what did you do when you were

 

 

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| Page 11

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1 affiliated with Lehman Brothars?

 

 

 

 

 

3 | over-the-counter list,

4 Q Okay. And where did you go after

5 leaving Lehman Brothers?

6 A Ninateen-seventy-five, I went to

7 Brean Murray Foster Securities. Brean Murray,
8 Inc.

9 Q And what was the business of Green
10 {sic) Murray, Incorporatad?

11 A General business. It was a general
12 © brokerage firm. Merchant banking, investment
13 banking, over-the-counter trading, Naw York

14 Stock Exchange trading, and asset managemant.
15 Q And what was your role for the firm
Li while you were thera?
17 A At the time, I was head of
18 over-the-counter trading.

19 MR. FOLKENFLIK: At what time
20 is this, did you say?
21 MR. CONWAY: Nineteean~saventy
22 | ~five.
23 MR. FOLKENFLIK: Hrom the
24 beginning.
25 MR. CONWAY: Right.

 

 

 

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1 BY MR. CONWAY:

 

 

 

 

 

3 A No. I was the head of
4 over-the-counter trading.
5 9 Head of over-tha-counter trading.
6 Okay.
7 Do you recall what your earnings
8 were at the tima? Bast estimate.
9 A Maybe, 40,000 a year.
10 Q And for how many years did you
11 continue with Green Murray, Incorporated?
12 A Brean, B-r~-e-a-n Murray.
13 : Q Brean, with a "B!'9?
14 A Brean.
15 Q Brean, with a B. Okay. I thought
16 you said Grean. Okay. Sorry.
17 And for how long ware you with
18 Brean Murray?
13 A Twenty-eight years.
20 Q And what was your highast position
21 at Brean Murray?
22 A Partner in charge of all capital
23 markets.
24 Q And what was your highest rate of
25 | Salary in that capacity?
I

 

 

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the fifth.

 

 

 

All right.

Are we talking, like, talking in
a hundred?

I doen't see the relevance. i take

MR, FOLKENPFLIE: Just to
advise the witness, the Fifth
Amendment isn't a privilege as to
relevance. It's a privilege as to
possible incrimination.

THE WITNESS: Well, what if I
think I'm possibly incriminating
myself?

MR. FOLKENFLIK: Well, you
need to have a basis for that.

THE WITNESS: And the basis -
I have to explain the basis to you?

MR. FOLKENFLIK: Not
necessarily. But, for 20 years ago,
it wouldn't matter.

What's the question?

 

What were your highest earnings?

Approximately, 800,000 a year.

 

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Page 14

All right. And were vou married at

 

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Corract. I owas.
To whom were you married?
Leslia Holzer,

And when and where did you marry

Ms. Holzer?

I married her September 6th, 1970;

Lincoln Park Jawish Center, Yonkers, New York.

26,

 

now?

Q

A
Q
A

Holzer,

Q

write.

x0

And do you have any children?

Three.

Their names and ages, please,

Jannifer Holzer, 36; Douglas
32; Joshua Holzer, 26.

You're talking faster than I can

Jennifer's 36?
Correct.
And the next?

Douglas Holzer, 32; Joshua Holzer,

All cright. Those are their agas

Didn't you ask me now?

Yes.

 

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Page L5

Page 15
| A Okay. I'm giving you now.

 

ving the perio

  

3 MR, FOLKENELIK: Tf I may

4 suggest toa the witness. Obviously,
5 thera are reasons why you might want
6 to conelude this as quickly as

7 possible. So, less dueling over the
8 ! questions and simple yes or no

9 answers would accomplish that.

10 THE WITNESS: Okay. I'll try
11 my best.

12 BY MR, CONWAY:

 

13 Q We haven't any interest in

14 proseaution or any ether thing like that.

15 A. I understand what you're doing

16 here, and I'll try to answer as succinetly and
17 rapidly as possibla,

18 Q Good.

19 MR. FOLKENPLIK: Tt's for

20 your own benefit.

21. BY MR, CONWAY:

22 | Q Now, do you know who the principals
23 | of Braan Murray were?

24 A They changed a lot over the years.
25 I was a principal for all those years.

 

 

 

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1 Brean Murray, himself, was a

3, Jerome Barry was a principal for

4 all those years.

5 And then there was interchangeable

6 pieces over the whole period of time.

7 Q Were you an equity holder for any of

g those years?

9 A Corract.

10 Q And how large an equity did you

11 hold?

12 A I'm the third largest equity

13 holder.

14 Q How large, what percentaga?

15 A Oh, I don't know.

16 Q Best astimate.

17 A Probably, the highest percentage

18 | was probably 27, 25 per cent, Somewhere

19 around there.

20 Q Now, when did you stop working for

21. Brean Murray?

22 | A Iodon't recall the actual date.

23 | Two-thousand-and-two, three, I don't aven

24 recall,

25 Q During the period of your

 

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Paga 1?

1 involvement with Brean Murray, was your wife

3 A No.

4 Q Did she participate in the Brean

5 Murray business in any way?

6 A No.

7 Q Saleswoman, or something?

8 A No,

9 Q Did your children ever join you in -
10 A No.

il Q Now, do you know a Barry Fingerhut?
12 A Yes.
13 Q And when did you coma to know Barry
14 Fingerhut for the first time?
15 A I would say, probably, 1984, maybe.
16 2 And what was Mr. Fingerhut doing at
17 the time, professionally?

18 A He was one of the - one of two

13 partners of GeoCapital.
20 Q And who was the other partner?
21 A Irwin Lieber.
22 Q And do you know whan Mr. Fingerhut
23 and Mr. Lieber had set up?
24 A I don't.
25 Q What was the business of GeoCapital?

 

 

 

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Page 18

Page 18

A Asset management.

 
 

 

   

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on
management," what do you mean by that term,
specifically?

A I mean they garner assets from

different people and put it towards the equity

 

markets or private placements, or whatever
their charter was, I don't know what theix

charter was.

Q They manage people's money?
A That's correct,
Q Now, in managing people's money, did

they have broker's licenses? Did they do
broker's work themselves or did they hire
outside agencies?

A Thay - f don't know the answer to
that.

Q And how did you come to meet
Mr. Fingerhut for the first time?

A I met Mr. Fingerhut for the first
time threugh, probably, one of the formal
partners at the firm.

MR. FOLKENFLIK: Meaning,

 

Brean Murray?

THE WITNESS: No. I'm trying

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Page 19

Page 19

1 to remember who it was, in

 

 

 

 

 

3 Harrah (Phonetic Spelling) who was

4 : head of sales.

5 MR. FOLKENFLIK: And - excuse

6 me - at Brean Murray?

7 THE WITNESS: Yes.

8 | BY MR. CONWAY:

9 Q Okay. And was your involvement
10 with Mr, Fingerhut professional or personal?
11 A Professional.

12 Q And were you involved in business
13 transactions together, at the outset?

14 Did you meet him in a deal, or -
15 A I was not involved together with
16 Barxy Fingerhut professionally, no,

17 | Q Well, in 1984,

18 A No. Not my whole time working at
19 Braan Murray.

20 - Q Okay. And did there come a time
21 | when you began business relations with

22 | Mr, Fingerhut, even if you were not together?
23 A Never while I was at Brean Murray,
2A as I recall.

25 Q What -

 

 

 

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Page 20

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A I'm gonna change that. I ean't

 

 

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Q You can't recall if you did any

business with Mr. Fingerhut?
A You're talking personally?
Personal businass.
Io dontt recall,
Okay.

If I was at Brean Murray then.

oO FF CO F ©

All right. Now, what was the nature
of Mr. Fingerhut's business at GeoCapital; what
did he do for them?

MR. FOLKENFLIK: Objection.
Asked and answered.
BY MR, CONWAY:
Q Was he Chief Executive? Was he a
salasman?
What did he do?
THE WITNESS: What did you
say just now?

MR. FOLKENFLIK: I said

objection, but he corrected it,

 

 

THE WITNESS: Yeah. Okay.
Say it now. Rephrase it.
MR. FOLKENFLIK: If you know

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1D. Llalzer - March 28, 2012

 

 

 

 

 

Paga 21
. Page 21
i what his title or function was
2
3 partner.
4 A iI o- let me go -
5 Let me say this. I did not work at
6 GeoCapital, I did not know the inner workings
7 at GeoCapital, and I'm not gonna say what I
8 think happened there. Okay?
9 Q That's fine.
10 ~~ A S80, if you're - if you're -
11 Tf the course of your questions are
12 gonna concern GeoCapital, I don't know.
13 Q Don't worry. Wa're fine.
14 A Okay.
15 Q Do you have any idea in what state
16 GeoCapital was incerporated?
a A No.
18 Q Did they have an office in New York?
19 A Yes,
20 Q Do you know where that office was?
21 A It was on - right off 3rd Avenue
22 and 49th Street. I don't recall, offhand,
23 Forty-ninth or 50th. I can't recall the exact
24 address.
25 Q And did you continue a professional

 

 

 

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L relationship with Mr. Fingerhut during the

3 A Yes.

4 Q And what type of relationship was

5 that?

6 Was it a financial relationship?

7 Was it a personal relationship?

8 A it was a financial relationship

9 where Brean Murray Foster Securities - which

10 it was called at the time - sold research to

11 GecCapital, who was consumed by partners and

12 | portfolio managed sales.

13 How it was broken up at that time,
14 I do not know. We sold them research, they

15 paid us back in commissiona,

16 g To your knowledges, how large a firm
17 was GeoCapital?

18 A I have no idea.

13 Q And how was your investment returned
20 in commissions, if the information was used, if
21 purchases ware mada?
22 A De you want me to explain the whole
23 process -
24 Q Yes. Please. Yes. If you would.
25 A - of selling -

 

 

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Q Yeah.

 

 

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Q Yeah.

MR. FOLKENFLIK: Is it soft
dollars?

THE WITNESS: No. Not
necessarily. Soft dollars could be

paid,

 

MR. FOLKENFLIK: Okay.

A Anyway, what typically happens is,
you go into a firm, such as GeoCapital, from
Brean Murray. You bring an institutional
Sales person, a research analyst, maybe the
guy running the trading desk, which was mea.

You make a presentation to the
investments committee of
"We like Apple becausa blah, blah, blah, blah,
blah." Okay?

Now, they say, "Okay. We like that
idea. We're gonna buy Apple," or, "We're not
gonna buy Apple, but you came here, took the
time, sold us this. We're gonna pay you
back."

How do they pay us for that

service? That's a service. They'll call up

 

 

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the next day. Somebody on the order desk, or

 

 

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Buy me a hundred-thousand shares of Apple.

You charge a commission, or, at the
time, it was a spread, ‘aause it's a
negotiated market. Take a little bit of that
spread.

Buy it at, let's say, a hundred,
and you sell it to GeoCapital at

ona-hundred-and-one-eighth.

Q All vight. Is the one-eighth your
commission?
A Your commission, spread, whatever

you wanna call it. Credit. That's, very
basically, what happens.

Q And were you involved in these
research sales with Mr. Pingerhut himself?

A Sometimes, yes. Sometimes, no.

Q And did a personal relationship
develop between yourself and Mr. Fingerhut
during these years?

A Yes,

Q And when did that personal
relationship commence, to the best of your

knowledge?

 

 

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A Personal relationship commenced on

 

 

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EZ don't know,

MR. FOLKENFLIK: So that was

 

a facetious answer?
THE WITNESS: Yes,
BY MR. CONWAY:
Qo Oh. So that was a facetious
answer, You don't know? Okay.

A You're asking a quastion that's
hard to answer. I can't tell you. You know
what I'm saying?

Q All right. Did there come a time

whan you began te social -

A I'm sorry.

 

g That's okay.
When you began to socialize with

Mr. Fingerhut, outside of business?

A I don't recall,

Q And did there come a time when you
left Brean Murray?

A Yes.

Q And what was the purpose of your

leaving Brean Murray?

A The over-the-counter market was,

 

 

 

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Page 26 A
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Page 26 vig %

1 basically, finished. ‘That's why I left. eo

3 A After Brean died, alse. Firm

4 started to falter.

5 Q And what year was this?

6 A Around two-thousand-and-two. He |

7 might not have died at tha time when I left,

8 | [It was ~

9 T’m not sure. I don't remember. I

10 don't recall the exact data, but he was dying.

L1 Q And did you leave for any other

12 business pursuits?

13 A I want to trade my own account at ,

i

14 one of my friend's firms.

15 o And what firm did you go to?

16 A Dahiman Weiss. Dahiman Simon

17 Weiss, maybe it was.

18 Q Can you spell it?

19 A I don't remember. D-a~l~h-m-a-n

20 | (sic)

21 | Q Dahlman Weiss?

22 A Yeah.

23 And there was a third. Simon, or

24 Dahlman Weiss Rosa,

25 9g Now, at that time, in 2002, you took

 

 

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your cliant base with you?

 

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own account.

Q Meaning what?
A I had $20, I bought $20 worth of

stock and I sold it for §30.

Q And did you have a financial stake?
A Stake? No.
Q When you went there, what capital or

funds were you using at Dahlman Weiss to make

 

purchases?
A My own.
Q And what ware your assets at the

time, when you began with Dahlman?

A I don't know.

ie

All right.

Are we talking in excess of a

million?
A I don't recall.
Q And for how long did you remain

trading your own account at Dahlman Weiss?
A I don't ramember exactly, but,
probably, up until the tima I opened up

Fingerhut-Holzer, or whatever the date of that

 

 

Was.

 

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Page 28
Page 28
1 Q Do you recall when that was? Was it
ae

3 A Exact date, I don't recall.

4 Q Okay. Best astimate.

5 A It's easy enough to find out. I

6 just don't know what date.

7 Was it 2004?

8 Q All right. Fingerhut-Holzer was

3 what?

10 A Fingerhut~Holzer was a partnership

11 set up as an LLC.

12 Q Now, how had Fingerhut-Holzer

13 Partners emerged?

14 What was the background for the

15 ereation of that organization?

16 A Just two gentlemen getting together

17 and deciding they wanted to open up a hedge

18 fund,

19 Q Qkay. And did you approach

20 Mr. Fingerhut or did Mr. Fingerhut approach

2i you?
22 A Kind of evolved. I'm not sura who
23 | approached who, or it just evolved as such.
24 There was no actual, "Hey. You wanna be my
25 partner?"

 

 

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1 It wasn't like that.

 

 

 

 

 

3 exactly. I don't recall.
4 Q Was Mr. Fingerhut still with
5 GeoCapital at the time?
6 A Yes.
7. Q And did he have any other business
8 | interests of which you were aware?
3 A Yes.
10 Q And what were the other business
ii interests that you know of?
12 A I'm trying to remember the name.
13 Barry Rubenstein. I just don't remember the
14 name.
15 Q Who was Mr. Rubenstein?
16 A He was one of the partners in the
17 other firm that he was involved with. It
18 might come to me.
19 Q In GeoCapital?
20 A No.
21 Wasn't tha question Did he have any
22 other interests?
23 Q Yes,
24 | A Okay. And I said, yes.
25 QO Yes.

 

 

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A You said,

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"With whom? What was

 

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I don't recall tha name of thea

firm.

Barry Rubenstein.

I just remember one of his partners was

That's all I can help you

 

 

with.
@ All right. And who was
Mr. Rubenstein?
A His partner in that firm.
Q Now, was Mr. Rubenstein a financier,

was he a broker,

things.

businesses.

in the market?

 

Was he

Was. he

Was he

A He was

general, good working knowledge of the whole

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Q And did he and Mr,
businesses together?

A Businesses?
They owned equity in certain
They owned stocks.
private placements together.

Q Did Mr. Fingerhut have a specialty |

a

a

a

a

was he -

A He was a financial professional,

Fingerhut own

They owned stakes in

They owned

technologist guy?
real eastate guy?
commodities guy?

genaral analyst. He had a

 

 

 

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Page 31
Paga 31
1 equities markat, as far as I'm concerned.
e

3 wouldn't consider him a specialist. He may

4 have started out as a specialist. I don't

5 know.

6 Q All right. He was, basically, an

7 analyst?

8 A He was a portfolio manager with

9 analytical abilities,
10 Q Do you recall if there was any
11 meetings between yourself and Mr. Fingerhut for

12 : the discussing of an ongoing business

13 | relationship between the two of you?

14 A There were meetings, sure.

15 Q Where were those meetings held?

16 A Iodon't recall.

17 Q Were they held at your offices, his

18 offices, over dinner, over lunch, some other

13 time?
20 A It could have hean any of them. [
2i just don't recall, specifically, where they
22 were.
23 : Q What was the nature of the
24 | discussions between yourself and Mr. Fingerhut
25 as to ongoing business relationships?

 

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1. Holver - March 28, 2012 eos
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Page 32 OL 4
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Page 32 or

1 A The nature of the discussion was

 

 

 

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3 wanted to do tea do that.
4 Q Okay. And was Fingerhut-Holzer
5 Partners the first organization that the two of
6 you put together?
7 A Yes.
8 Q And what was the business of
9 Fingerhut-Holzer Partners?
10 A Specific business was to manage
li assets in the bast way poasible in any field
12 we chose.
13 Q Now, did you have any licenses in
14 the financial industry? Were you a licansed
15 broker?
16 A Personally?
17 Q Yes. i
18 A I probably had aight or nine |
19 differant liceansas.
20 Q Which would include what?
21 A A Series 24, Series 55, Series 7,
22 Series 63, Series 8, Registered Options
23 Principal, member of the New York Stock
24 Exchange.
25 o Did you have a seat on the Stock

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Exchange?

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Well, we always did. I held tha

seat for two years.
Q Okay. Fingerhut-Holzer Partners

held a seat?

 

 

A No.

Q Well, that's what we're here to find
out.

A Fingerhut-Holzer Partners had no
licenses. Fingerhut-Holzer Partners did not

and was not a member of the New York Stock

Exchange.

You asked, specifically, if I held

certain licenses. That was over the coursa of

my professional career at Brean Murray, and
then Brean Murray Foster Securities, which it
became.

Q All xight. So you held a seat on

the stock market while at Brean Murray?

A Correat.
Q But it was not yours?
A It was partially mine. I was the

general partner.

Q When you left Brean Murray, did you

 

 

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leave the seat behind or -

 

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that,

Q Sold.
When was the last time you had

seats in the market?

 

A Seats?
Q Seats, plural.
A The last seat was sold, and I'm not

sure about the date. I'd say, probably, in
the late ‘90s wa sold it. The first one was
sold in the early ‘908s. We bought them in the
early '70s. Thixty-six-thousand-dellars and
$43,000.

Q And, just as a curiosity, what wera
they sold for?

A Two-million and a million~six, or

something lika that.

 

{At which time, a discussion

was hald off the record.)

BY MR. CONWAY:

Q Now, when you and.
i

 

 

Mr. Holzer <-
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Paqa 35

A Loam Mr. Holzer.

 

 

Q oo Mas

Mr. Fingerhut ~

A Yeas,

Q - were sitting to discuss your
Future together, what was it that the two of
you intended to do as a professional
arrangement?

MR. FOLKENFLIK: Objection,
Asked and answered,

THE WITNESS: Io owas just
gonna ~ well, go ahead.

MR. FOLKENFLIK: Go ahead.
You ¢an answer it again.

A To make people money.

Q And was Fingerhut~Holzer Partners
LLC a company organized in the State of New
York?

A You know, I don't recall if it was
set up in New York State or Delaware, I think

New York State,

Q Did you have an attorney?
A Yeas.
Q Who was the attorney responsible for

setting up the LLC?

 

 

 

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I don't remember the name anymore.

 

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A Yes.

Q ~ the law firm to set up the
corporation?

A Yes.

Q And is there any doubt in your mind

that Fingerhut-Holzer Partners LLC was a

business corporation?

A

Q

Any doubt?

Yes.

Is there any doubt that it was

Page 36

36

 

 

a corporation?

A

Q

 

A

Q

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financial house,

A No doubt,

Q Okay. Did it operate in New York?
A Yes.

Q Did it register itself as a

in any way?
No. We were not required to.

Now, to the best of your knowledge,

was stock issued on Fingerhut-Holzer Partners?

Stock certificates?
Stock certificates.
MR. FOLKENFLIK: Objection.

Counselor, there is a limited

 

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D. Holzer - Mareh 28, 2012 Oe
8 whe’
Page 37 os
Page 37
1 liability corporation. There are
embership ight
3. BY MR. Conway:
4 Q Did you and Mr. Fingerhut
5 share ownership of Fingerhut-Holzer Partners?
6 A Yes.
7 Q All right. Was it an equal division
g af ownership?
9 A I'm trying to ramembeax if there
10 were other people involved, I don't recall
11 right now. It was equal between me and him,
12 though.
13 Q All right. There may have bean
14 third-party participants whose names escape you
15 at the moment?
16 | A Yes.
17 Q But you and Mr. Fingarhut were equal
18 partners?
19 A Correct.
20 Q And what was the division of
21 rasponsibility within the company; what did Mr.
22 Fingarhut do and what did you do?
23 A Wall, it was a mixed bag. We each
24 | did our own thing. He, basically, would have
25 been the portfolio manager. I would have been

 

 

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the trader.

 

 

   

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Page 38

 

Q

A He would hava been Long-term, I
would have been short-term.

Q Hea was responsible for picking the
equities and making determinations. on
investment vehicles?

A Yes.

Q And you would have been - you were
the hands-on salesman, movar -

MR. FOLKENFLIK: Objection to
the term "salesman." That's not
what the witness said. It's a
different term.
THE WITNESS: That's correct.
BY MR. CONWAY:

Q Okay. I understand.

Your £unction would have been
exactly what?

A Trading.

Q Did you trade in your own nama or
did you trade through a third-party?

A What do you mean, “through a
third-party"?

Q Did you deo your own trading within

 

 

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1 tha company?

 

 

 

 

 

3 ° All right. Were you licensed and

4 permitted to trade your stocks within your

5 conpany?

6 A I'll explain something to you.

7 ( Q Please, yes. Do.

8 A I might be long-winded, but ~

9 Q That's okay.

10 A ~ maybe it will short circuit soma
il of tha questions.
12 Anybody can trade their own money
13 anywhere, any time, any parson, You could be
14. banned from the securities industry for life,
15 you could be stripped of every licansa you

16 ever had, but anybody can trade their own

L7 account.

18 Do you understand what I'm saying?
19 Q Yes,
20 A Okay. Now, what's the question?
21 MR, FOLKENFLIK: Just te cut
22 this short, did you trade through a
23 brokerage firm?
24 THE WITNESS: Through one?
25 Yes. You have to. We cannot

 

 

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Ls: execute our own trades.

 

 

 

 

 

3 Qo Yes. ‘That's what I was asking.
4 A I misunderstood then.
5 Q Okay.
6 A Yes. We traded through a brokerage
7 ~ I traded through a brokerage firm.
8 | Q All raght. And what was the
9 brokerage firm? Which one?
io. A Probably, Dahlman Rose, still.
il | Dahlman Rose.
12 Q Okay.
13 A And other accounts, I can't recall
14 who they were.
15 | Q But there were other trading
16 organizations you used?
17 A Yeah. This place kind of dims your
18 memory a little bit.
19 Q Did Fingerhut-Holzer Partners have
20 assets?
21 A Assets? No. Just what was set up
22 in the LLC as wa went along. There was no
23 assets in Fingerhut-Holzer Partners.
24 Qo Okay. How did Fingerhut-Holzer -
25 | MR. FOLKENFLIK: can I

 

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interrupt you?

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MR. FOLKENFLIK: What do you

mean by, "Just what was set up in
the LLC?"

Contributions at the time
of

THE WITNESS: No. There was
no contributions at the time of
incorporation. Zero. As we went
along and we were able - and wa did
a certain daal and a saparata LLC
was set up for each deal, it was
funded at that time.

MR. FOLKENFLIE: Okay. So
there were no funds which you traded
through Fingerhut-Holzer?

THE WITNESS: Zero funds.
Zero,

MR. FOLKENELIK: But it was -
for want of a better tarm - a
holding company for other LLCs -

THE WITNESS: That'a -

MR. FOLKENFLIK: ~~ that were

set up to de specific transactions?

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1 THE WITNESS: That's

3 MR. FOLKENFLIK: Okay.

4 And Fingerhut- Holzer, other than

5 indirectly through the separate LLCs

6 that were sat up for specific

7 transactions, it didn't have a

8 portfolie that it traded out of?

9 THE WITNESS: Yhat's correct.
10 MR. FOLKENFLIK: Only through
Ll the other subsidiaries.

12 THE WITNESS: As each sub -
13 as each sub was set up, they were

14 funded for whatever the specific

15 investment vehicle was for that LLC.
16 BY MR. CONWAY:

L7 2 Right. Was Mr. Fingerhut the

ig gentleman who brought in most of the investors?
19 MR. FOLKENFLIE: Well,

20 objection. Assumes facts not in

21 evidence.

22 MR. CONWAY: No. That's what
23 we're here to find out.

24 MR, FOLKENFLIK: Who invested
25 in the separate subsidiary LLC?

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THE WITNESS: Customers.

 

 

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Paga 43

 

Q All vight. Was Mr. Fingerhut the

principal party bringing in the customers?

A No.

Q Did you bring in an equal volume of
customers?

A I don't recall.

Q Now, was Mr. Fingerhut rasponsible

for designing the investments for the customers?

A Desiqning the investments? What's
that mean, exactly?

MR, FOLKENFLIK: Just ask him
an open-ended question and he'll
explain it.

BY MR. CONWAY:

Q The thing is, what I wanna know,
more specifically, is, did Mr. Fingerhut make
the approach to the clients and say, "I'm
suggesting that you invest in this particular

vehicle"?

A No. Not all the time.

Q Okay. Did he do it on occasion?
A Sometimes.

Q All right. Did customers come to

 

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L him and say, "This is what I would like to doe.

3 A Not necessarily.

4 Q Okay. Can you describe what it was

5 that he did, as bast you can.

6 A Barry was an idea guy. Hea came up

7 with an idea and then we put it into play.

8 That's what he did.

9 QO And what were some of his ideas for

10 Fingerhut-Holzer Partners?
1i A For Fingerhut-Holzer Partners?

12 Q Yes,

13 A Zero. However, for the

14 subsidiaries -

15 Q Yeah. Okay. Fine. For the

16 investors and subsidiaries, tell me what some

17 of his ideas were.
18 A Some of the ideas were real astate

19 investmants in Florida. Private placements in
20 New York.
21 Q And what do you mean by "Private
22 placements in New York"?
23: A Money with privately held
24 | companies.
25 Qo What else?

 

 

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1 A Some public stock, publicly traded
3 Q What else?

4 A That's it.

5 Qo Now, when investor money cama in,
6 into what particular vehicle was it placed?

7 A LLCs.

8 | Q Each investment -

9 A Set up LLCs at J.P. Morgan Chasa.
10 What?

11 Q Bach investments had an LLC. By
12 that, do you mean a company or an account?

13 A The - the LLC was domiciled at J.P.
14 Morgan Chase.

L5 MR. FOLKENFLIK: The record
16 should reflect that the witness

17 gestured toward the copy of the

18 Amended Complaint.

19 BY MR. CONWAY:
20 2 So, when money came in, it was

21 directed to J.P. Morgan Chase?
22 A Yas.
23 Q And limited liability corporations
24 | were set up for these investments?
25 A Correct.

 

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D. Lloizer - March 28, 2012

 

 

 

 

Page 46
Page 46
1 Q All right. Were they set up through
3 A I doen't recall. We might have
4 changed lawyers because they were too
5 expensive, as I recall.
6 I just don't remember who wa
7 changed to after the initial firm was set up.
8 Q All right. Where did you hava your
9 place of business?
10 A 399 Park Avenue.
il Q And how many employees did
12 Fingerhut-Holzer Partners hava?
13 A Including tha partners?
14 QO Yeah.
15 A I think, seven.
16 9 And who were the seven?
17 A Barry Fingerhut, David Holzer,
18 Andraw Fingerhut.
19 Q Is that Mr. Fingerhut's son?
20 A That's correct.
21 Brooke Fingerhut.
22 Q Is that his daughter?
23 A That's correct.
24 Douglas Holzer, and we had a
25 L receptionist. I don't recall her name.

 

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1). Holver - March 28, 2012 a
fe enna — 7 at
| Page 47
| Page 44
1 And we had a ~ I don't remember his name...
: f
3 MR. FOLKENFLIK: Can I get
4 the question read back, please? The
5 | original question.
6 (At which time, the
7 requested portion of tastimony was
8 | read back by the stenographer.)
9 BY MR, CONWAY:
10 Q Now, how did Fingerhut-Holzer make
11 its money, Fingerhut~Holzer Partners make its
12 - money?
13 A We didn't.
14 Q What does that mean?
15 Where was the income stream for
16 Faingerhut-Holzer?
1? A There was no income stream.
18 Q How were you and Mr. Fingerhut
19 profiting from Fingerhut-Holzer Partners?
20 | A There was no profit.
21 Q Well, how did you earn a living at
22 the time?
23 A Wa didn't earn a living.
24 Q Well, what was the purposa of
25 Fingerhut-Holzer Partners if not to make a

 

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(. Holzer - Murch 28, 2012

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1 profit?

 

 

 

  
      

 

 

3 9 All right. And you never made
4 any money with -

5 | A No,

6 Q Never ever?

7 A No.

8 Q Now, is this the year 2003?

9 A I don't recall the exact year. I
10 think it was 2003, or 2004, maybe. I just
il don't recall. .

12 Q And what income sources did you have
13 in 2003?

14 A Trading.

15 | Qo Trading in?

16 A My own account.

17 Q And what was the quantum value of
18 your trading account?

19 A I don't remember.
20 Q And what was Mr. Fingerhut's source
21 ef income?
22 A I have no idea.
23 Q Now, in setting up Fingerhut-Holzer
24 | Partners, there was an intention to earn money
25 there; correct?

 

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Page 49 OAs

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1 A That's correct.

 

 

 

 

 

 

 

3 what was the plan to earn money?
4 | A By the investment process.
5 Q By participating in the investment.
6 process with your customers?
7 A That's correct.
8 Q And that never took place?
9 A The investment procass took place. ji
10 Nothing ever cama to fruition. You have to
Li sell something to maka money.
12 Q All right.
13 So, was Fingerhut Partners a failed
14 business investment?
15 | A Was it a failed business
16 investment? Yas
17 Q And it never made any monay at all?
18 A No.
19 Q ‘Did you file taxes for 2003?
20 A Yes,
21 Q And did - \
22 | A Don't say two-thousand-and-three
23 when I'm not Boxe of the year. I don't recall
24 if it was two-chousand-and-three. It's public
25. record, I now that.

 

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1 | So, I mean, it's vary easy to find

i initiated.

4 Q Okay. Now, did you have business

5 interests separate from Fingerhut-Holzer

6 Partners at the time?

7 A No. Business interests?

8 | Q Businass interests, Yas.

9 | A, No.

10 MR, FOLKENFLIK: Excluding

11 | your personal trading.

12 A I had investments, yes.

13 | Q That were your own?

14 | A Yes.

15 Q Were they under the umbrella of

16 Fingerhut-Holzer?

17 A No

18 Q Were they under any other corporate

19 entity?

20 A No.

21 Q All xight. Were they entirely held

22 within your own name? |

23 A In my name. Correct.

24 Q Was your wife a participant in any

25 — of this?

 

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A I don't vecall.

 

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partners. Correct?
A Yes.

MR. FOLKENFLIK: I have to
object, to the axtent that he uses
the term in a legal sanse.

BY MR. CONWAY:
You may answer,
Yes.

Okay. And the two of you -

ww oO Ff

Let's - let's just clarify this.

Thera was an LLC.

Q Right.
A You understand the LLC?
Q I understand.
A Okay.
Q ALL right.
MR. FOLKENFLIR: Excuse me,

That was to clarify the partners
question that you were an LLC?
THE WITNESS: Right.
BY MR. CONWAY:
Q And did you and Mr. Fingerhut agree

on the outline of the purposes of

 

 

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DD. Halver - March 28, 2002

1 Fingerhut-Holzer Partners?

 

 

 

 

 

 

3 Q All right. Did you agree, "This is

4 the business we are involved in, and this is" =~

5 | A There's no - there was no model.

6 Qo All vight. Did you set cut to make

7 money together? |
8 | A Yes. i
9 Q Was it your intention to share
10 profits together? |
12 A Yes.

12 Q And, in creating the LLCs, was this

13 intended to a method of, a vehicle for making

14 | profits?

15 A Yes.

16 Q All xaght.

1? | And how exactly was profit to bea

18 made through the LLCs that were created by

19 | investments that came to Pingerhut-Holzer

20 | Partners?
al A How it was supposed to be created
22 | was, you purchased whatever asset you
23 purchased, put it into the LLC, divide up the

24 players" participation by the amount of money
25 | they put in.

 

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1). Holzer - March 28, 2012 : Oy
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Page 53 ve
Page 53 v
1 So, if there was a million-dollars
, e owned oa
3 hundred-thousand-dollars worth of that
4 investmant, just prorated out,
5 Now, if that particular asset grew
6 to be ten-million-dollars, he owned that
7 percentage of ten-million-dollars.
g And then, when wa sold it, he
9 liquidated and he made money on it.
10 Q Okay. The employees had to ba paid.
11 Who was rasponsible for paying
12 those employees during the period that
13 Fingerhut-Holzer Partners was not earning
14 money?
15 A Barry Fingerhut and David Holzer. . |
16 Q Both of you together paid your
17 children's salarias out of your personal
18 earnings; out of your personal holdings?
19 A Correct. | |
20 Q And what exactly did Andrew
21 Fingerhut do for the company?
22 A Andrew Fingerhut was an analyst.
23 Q And what did Brooke Fingerhut do for
24 | the company?
25 A She was never there. I don't know.

 

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Q But she was listed as an employee

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age 54

 

eae much

work within the confines of the office?

 

A I onaver saw her there.

Q Okay. What did David Holzer do?

A David?

Q Excuse ma, Douglas Holzer. I'm
sorry.

A Douglas Holzer was set up to do

trading.

9 And did he do any trading within the

confines of the company?
A No.
Q What was Douglas Holzer doing at the

time that he was with FPingerhut-Holzer

Partners?
A Nothing.
Q Was he in school, was he -
A He was graduating.
Q Did he do any work at the firm?
A He would come up with trading

ideas. Because there was no money to invast
in them, they went to nought.

Q All xvight. Did he spend much time

 

at the office?

 

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A All the time, every day.

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age 55

   

 

 

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very da
So, at the office, on a daily
basis, would be you, Mr. Fingerhut, your son,
his son, and the receptionist?
A His ~

Andrew Fingerhut?

Q Yeah.

A He lived in Los Angeles.

Q Did he work for the firm from a
distance?

A Yas.

Q Okay. Did he work on a daily basis?

A As far as I know.

Q Now, who was responsible for footing

the costs of creating tha work space at 399

Park Avenue?

 

A It was a turn-key operation. It

was there.

Q Okay. You took it from the
building?
A No. We sublet it from - from a ~

that firm. I don't know the name.
Q All right. Did you and Mr. Holzer

set up a -

 

 

 

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MR. FOLKENFLIK: Mr.

 

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MR. CONWAY: I'm sorry.

 

BY MR. CONWAY:

Q Did you and Mr, Fingerhut set up a
working account from which you would make
payments such as the first month's rent?

A Yes. We had a- a - we had a £ixrm
checking account.

Q All right. |

And that checking account wag in

 

 

the name of Fingerhut-Holzer Partners LLC? |
A Yes. \
Q All right.

And both of you would have been

| signatories to it?
A Yes.
Q Was Mx. Fingerhut in the office on a

| regular basis?

 

A Not ~ not in the first year or so
of operation.

Q Did there come a time when he became
more actively involved in the company?

A After the first year. or so of

operation.

 

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LS Q ALl right.

Qecseicen Ang.

 

 

 

 
   

Yegular basis?

 

 

 

4 A Yes.

5 Q Where were you living at the time?
6 A 10 Sky Drive.

7 | Q Where's that?

8 A New City, New York.

9 Qo And did you commute inte the city
10 every day?

11 | A I did.

12 | Q Now, was your service account, that
13 | you paid rent and mortgage and employees out
14 of, was there also any second or third

is accounts?

16 | A You're talking about personal or
17 business?
18 Q Business, businass only.

19 A You referred to it as what, a
20 service account?
21 QO Yes. The account for

22 | Fingerhut-Holzer Partners.

23 A Just one account.
24 Q One account.
25 There were no other accounts?

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3 to be set up. Because, when you open up an
4 LLC, you hava a vehicle in there.

5 Whatever that piece of merchandise
6 is has to be bought from an account attached
7 to that particular LLC. Every LLC is an

8 individual entity. That's why they're set

9 up. They - they're not Living, per se, but
Lo they're ~- that's an entity.

1l Like a human being, that's an

12 entity. It's an investment deal. Limited
13 liability company.

14 So whan you open one up, you have
15 to open up a corresponding banking |
16 relationship with that LLC that dees banking,
17 and you must open up an account with it.

18 Q Who did that for Fingerhut-Holzer?
19 A Andrew and - I can't remember his
20 last name. I can't remember his last name.
21 The CFO.

22 Just keep going, and I'll think of |
23 it.
24 9 Okay. Thera was a CFO on -

25 A Yes. That was the other employee,

 

 

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1 I said, that was there every single day.

 

 

3 | and cut this short. If I understand

 

4 your answar correctly, when there
5 Was an investment to ba mada, there
6 was an investment vehicle sat up as
7 a separate LLC. It would then be
3 funded, at that time, and the
9 membership interests would be
10 delivered to each of the funding
Ll sources.
12 And then, whenever
13 investment was made to that LLC, it
14 was made to the bank account
15 established for that LLC -
16 THE WITNESS: Correct.
L? | MR. FOLKENFPLIK: At J.P,
18 Morgan Chase.
19 THE WITNESS: Absolutely
20 correct.
210 MR. FOLKENFLIK: Axe all :
22 those staps correct?
23 THE WITNESS: That's
24 | absolutely correct.
25 MR. FOLKENFLIK: So, the

 

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Process was, you came up with an

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erect’

THE WITNESS: Correct.

MR. FOLKENFLIK: Then created
an investment LLC; correct?

THE WITNESS: Correct.

MR. FOLKENFLIK: Then
membership interests were acquired
by the investors in the ULC;
correct?

THE WITNESS: Correct.

MR. FOLKENFLIK: And then the
funds for the membership interests
would be deposited directly into an
account in the name of the LLC at
J.P. Morgan Chase,

THE WITNESS: The only step
that has to be reversed - the money
comes in first, then the percentages
are established.

MR, FOLKENFLIK: Okay. The
money would go into the LLC -

THE WITNESS: First.

MR, FOLKENFLIK: ~ in the

J.P. Morgan Chase LLC account.

 

 

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THE WITNESS: Correct. Then

 

 

percentag:

somebody could say, "I want "x"

amount." But, all of a sudden, only
"X" amount comes in. So, as soon ag
the money's funded in the LLC, each
participant gets a certain

percentage of the LLC.

 

And then, as he said, the
checking accounts opened up and paid
out.

MR. FOLKENFLIK: And then the
investment is made from that

checking account?

THE WITNESS: That's. correct.
MR. FOLKENFLIK: Okay.
BY MR. CONWAY:
Q And Andrew Fingerhut was

responsible for doing this from his Los Angeles

 

residence?
A He was an analyst.
@ Well, who's the party who actually

Filled out the -

MR. FOLKENFLIK: He said the

CFO.

 

 

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1 | A Yeah. CFO guy. Tt can't think of

4 Just put CFO, Refar te him as

5 "CFO." He was there.

6 Q My clients have identified a Mr.

7 Blum.

8 A Oh. That's it.

a Q Does that sound familiar?

10 A Mr. Blum.

11 MR. FOLKENFLIK: Mister,
12, what, Blum?

13 MR. CONWAY: Yeah. Mr. Blum.
14 A That's the guy.

15 Q What's Mr. Blum's first name?

16 A His father was Howard Blum.

1? Q Was Mr. Blum a young man?

18 A Yes.
19 Q And Mr. Blum is the CFO?

20 A Yes.
21 Q And, as CFO, he was responsible for
22 | the manual work that had to be done ~
23 A That's correct.
24 Q ~ and setting up all these things?
25 A That's correct,

 

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9 That was his job?

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9 How many different LLCs were seat up

by Fingerhut-Holzer?

A I don't know.

Q Area wa talking in excess in ten?

A I don't recall. No.

9 In axcass of a hundred? Somewhere

in between?

A You said in excess of ten. I said
no. It cannot be in excess of a hundred.

Q But I thought you said you didn't
know?

A No. I don't know for sure. It was

net in excess of ten.

Q All right,

To the best of your recollection,
how many investment LLCs were set up by
Fingerhut-Holzer Partners?

A Four, five, maybe.

Q Okay. And who were tha
participators in those four or five different
investments?

A I~ I don't recall. £ don't recall

the names.

 

 

 

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Page 64

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Q Okay.

 

 

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you show the witness the list -
MR. CONWAY: All right.
All right. Wa'tre gatting there.
We're getting there.
MR. FOLKENFLIK: ‘Round about.
BY MR. CONWAY:

Q Now, amongst the defandants
identified here are a number of other
companies, including Fingerhut-Holzer Equities,
Incorporated,

Are you familiar with that company?

A Not particularly. Imean, I - I
don't recall anymore.

You know, just keep reading and
I'll tell you if I'm familiar with any.

Q Fingerhut-Holzer, Incorporated.
Fingerhut-Holzer Pund, L.P. Faingerhut-Holzer
The Waverly I, LLC.

A Io maan, I remember some of them. I
just don't remember what went into them. Some
of them were real estate. Some of them might
have been a magazina that we put money into.

Some of them might have been hedge funds.

 

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1 I just don't remember which fit

   

 

 

nderstand

 

 

 

 

3 Q ALL right. Now, when you set up a -
4 when an LLC was set up, did it invite
5 participation from other parties, other than
6 the originals?
7 A Once it was set up, it was closed.
8 Q Once it was set up it was closed?
9 There were no others?
10 A In the initial funding, we'd set
11 up, for the LLCs, different funding charts,
12 investments. Might have been Waverly I,
13 Waverly II, Waverly III, Waverly Iv.
14 You understand? |
15 Q When you indicated —
i6 A You don't expand wpen an LLC.
17 Qo When you indicated that
is Mr. Fingerhut had an interest in real estate,
19 when real estate was being marketed and
20 | investors came to participate, purchase
21 apartments, things like that, where would the
22 money go?
23 | MR. FOLKENFLIK: Purchase
24 what?
25 MR, CONWAY; Purchase

 

 

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L apartments.

2 MR. FOLKENFUIK:” Objection:

3 The purchase of apartments is

4 different from the purchase of an

5 interest in an LLC.

6 A That's why you set up an LLC.

7 Q All right.

8 A The LLC does the purchasing of

9 whatever that vehicle is, whether it's

10 apartments, parking spaces, it doesn't matter.
12 The investor owns a piece of the

12 LLC which owns the whole investment.

13 Q All right. So my quastion was -

14 | A Yeah.

15 Q - after the LLC is set up, does it
16 invite contributions from investors for

L7 specific purposes and specific points in the
18 investment?

13 A Not that particular LLC. You set
20 up one, two, three, four, five. If it's the
21) Same investment, if it's in the same real

22 estate complex, or the same privately hald
23 company, it will be a differant tranche of
24 money with a different LLC.

25

 

 

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Reason being ig, you cannot change

 

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1. the percentage ownership of the first one by

 

 

 

 

4 Qo I understand.
5 A So that's haw it works,
6 Q Now, are you familiar with John and
7 : Haidi Rapillo?
8 A Yes,
9 . Q When did you meet John and Heidi
10 | Rapillo for the first time?
11 A John Rapillo, probably, in 1976,
12 TT,
13 Q And what was the nature of your
14 early involvement with Mr. Rapillo?
15 A Mine, particularly? Very little.
16 Q Okay.
17 . What was the relationship of anyone
18 in your family?
19 A Mr. Rapillo was an interior
29 decorator that my wife hired.
21 Q All right.
22 And did you come to maeat
23 Mr. Rapillo over the years, after being
24) introduced by your wife?
25 A Here and there.

 

 

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Paga 68
1 Q And did there come a time when your
“relationship with Mr and ure)

3 a personal friendship?

4 A Yes. But after he got married.

5 Q All right.

6 And you met him as a bachalor?

7 A Yes.

8 Q Okay.

9 And he subsequently married Heidi

10 Rapillo?

11 A Right. |
12 Q And when, approximately, was that? |
13 A IT hava no idea,

14 Q And did a friendship develop after

15 he married?

16 A Yes.

17 Q How did that occur?

18 A My wife invited them over for

19 dinner, they invited us for dinner, every -
20 couple times a year.
21 Q And, at any time, did you solicit
22 business investment from Mr. Rapillo in the
23 Fingerhut~Holzer Enterprises? |
24 A Yes. |
25 Q Okay.

 

 

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on enn ans
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1 Approximately, when was that?

3 Q Are we talking in the 1990s, or -

4 A I doen't recall.

5 No. Later. MTwo~thousand-three,

6 four. I dan't recall the exact date, though.

7 Maybe even later.

8 Q Are you aware that Mr. Rapillo had

9 an accident that caused him a personal injury?
10 A . Yes,
Li Q Are you aware that he had a personal
12 injury matter that he won in court?

13 A Yes.

14 Q And are you aware that, from this, \

15 he extracted a sum of, approximately,

16 two-point-saven-five-million-dollars?

17 A I knew he extracted some. I didn't

18 know axactly how much.

19 Q And this was in the summer of 2004.
20 A Yas,
2i Q In two-thousand-and-four,
22 Fingerhut-Holzer Partners was in operation,
23 Was it not?
24 A Wasn't or was? \
25 Q Was. in operation. )

 

 

 

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1 A I - I'm not sure. I think so, but
2 [i'm not sure. Sx.
3 that question,
4 o Did there come a time when you had
5 conversations with Mr. Rapillo for the purpose
6 of promoting inveatment with the
7 Fingerhut-Holzer operation?
8 A Yas,
9. 9 And when and where do you recall
10 having a conversation for the first time with
il Mr. Rapillo concerning the investment funds?
12 A My house.
13 Q And where was that?
14 A Where was it?
15 Q Your house at Sky Drive?
16 A Yas.
17 Q And what was the occasion, holiday,
18 birthday?
19 A Io don't know.
20 Q And what was the nature of your
21. conversations?
22 | A I don't recall. It was ~ he - he
23 actually initiated. Said he was hardly
24 gatting any money from wherever he had his
25 money in. Some bonds, or something,

 

 

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BR
1 Q And did he make a request of you?
9 A Yeah He. he.said,
3 "I'm not getting a good return on my money.
4 He's got me in some municipal bonds."
5 I don't really recall exactly what
6 it was.
7 And then I said, "Well, we're doing
8 a real estate investment. Maybe you wanna put
g | some money in there."
10 Q And what real estate investment were
it you refarring to?
12 A Wall, it was in Saint
13 Augustine. I yust don't remember if it was
14 Waverly. I can't remamber which particular
15 one. |
16 Q Were there multiple investinants in
17 Saint Augustine?
18 A There was different -
19 Q Or multiple projects.
20 A Yeah.
2i Q And what were the nature of your
22 discussions with Mr. Rapille?
23 MR, FOLKENFLIK: Objection.
24 : Why don't you ask him what he said.
25

L MR. CONWAY: I'm trying to.

 

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1 BY MR. CONWAY:

 

 

 

   

 

 

 

3 discussions?
4 MR. FOLKENELIK: What did you
5 say to him, what did ha say to you?
6 A Io said, "We're going to make an
7 investment in different condominium complexes
8 within Saint Augustine."
9 I don't recall the actual name of
10 2 the place now, Can't remember.
il ! But, anyway, and, "Would
12 you like to put money into this real estate?"
13 Q And what, in specific, were you
14 suggesting?
15 A That he buy it at "X" number of
16 dollars and sell it at "XK" number cf dollars.
1? I don't recall the exact numbers. !
18 o Buy what, in specific? |
19 A A place of the Waverly, which is |
20 the LLC that invested in the condominiums in
21 Plorida.
22 9 And when you say buy, "a piece of
23 the Waverly," what exactly did you mean?
24 An apartment, a chunk of the
25 investment?

 

 

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A No. I told him what the Waverly

 

 

amount of that.

Let's say - I don't recall the
initial investment, but say it was
fLive-million-dollars.

All right? I'm just saying that
for a number. It may not be the right number.
But you put in "X" amount of dollars in there,
you'll own "X" piace of this specific LLC,

If wa sell it for a specific

amount, double thea moanay, you'll make double

 

your money.

If we sell it for three times,
you'll make three times your money.

And so on and so forth.

Q All right. Now, were you intending
that he participate in the general ownership of
the Waverly, or was there any specific element
to which -

MR. CONWAY: Max. Max. It's
a simple question.

MR. FOLKENFLIK: No. It
isn't,

Q All right. Were you suggesting that

 

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he participate in the ownership interest of the

Waverly?

 

 

 
 

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es.
Okay.

MR. FOLKENFLIK: Objection.
By “the Waverly," do you mean the
LLC or the apartment complex that
bore that name? |

THE WITNESS: ‘Yas.

MR. FOLKENFLIK: Which, which
is it? The LLC or?

THE WITNESS: LLC.

MR. CONWAY: Okay. Max, [I
have to ask you to just save your

questions until your opportunity.

MR. FOLKENFLIK: You gotta
get it -

MR. CONWAY: I understand. I
understand.

MR. FOLKENFLIK: Counselor,

you gotta get the corporate

structure right. When you ask

questions that are susceptible to

confusing answers, it's

objectionable,

 

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Page 75
Page 75
1 MR. CONWAY: That's what we
| 2 do siping re
3 MR. FOLKENFLIE: No. That's
4 not what we do.
5 MR. CONWAY: Yes. We want
6 accuracy.
7: MR. FOLKENFLIK: We want the
8 truth,
3 MR. CONWAY: We want
10 accuracy.
11 THE WITNESS: You don't have
12 to tell ma that. I understand what
13 you're trying to do.

 

14 #£xBY MR. CONWAY:

 

is Q The phrase, Waverly Phase I,

16 Fingerhut-Holzer The Waverly I, LLC, what was
17 that?

18 A It was an investment vehicle to buy
19 a certain amount of apartment units in a

20 particular Saint Augustina real estate

21 development, initiated by a gentleman down

22 there named Joe Buckley.

23 Q And Joe Buckley -

24 A Ron Buckley.

25 | Q Ron Buckley.

 

 

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Paga 76

1 Was Ron Buckley a real astate

 

 

 

inves ter-an-Saint-Augustine?

 

 

3 A He was a developer.

 

 

 

 

 

4 Q Now, Mr, Buckley and his |
5 organization would ba the owner of the land and
6 develop the product?
7 A I don't know the infrastructure of
8 Trident Realty. That was the nama of theirs.
9 Q But Fingerhut-Holzer The Waverly I
10 WAS an investment vehicle to buy apartments in
11 that structure?
12 A That's correct.
13 Q They were not owners of the
14 structure. They would be owners of the
15 apartments?
16 A Who are you saying "thay," Waverly?
17 Q The investors in Fingerhut-Holzer
18 Tha Waverly I.
13 A That's correct.
20 Q 80, have you ever met Ron Buckley?
21 A Yes.
22 Q And was Mr. Buckley's interest
23 solely real astate and development, as best you
24 know? |
25 A Yas. |

 

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Page 77

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Q And was he responsible, also, for

Fingerhut-Holzer, for that which constituted

 

 

 

the investments of Fingerhut-Holzer The Waverly

 

TI, LLC?
A Was he responsible?
MR. FOLKENFLIK: Objection.
Just let me note my objection. You

have it backwards.

MR. CONWAY: Okay. Well,
straighten it out.

MR. FOLKENFLIK: Was Waverly
a single real estate development?

THE WITNESS: Was the Waverly

- say it again. I'm sorry.

MR. FOLKENFLIK: The Waverly
THE WITNESS: Yas,
MR. FOLKENFLIK: ~ that Mr.

 

Buckley created as a developer
through Trident, was that a real
astate davelopment series of
condominium complexes?

THE WITNESS: That was what

Trident Realty, who was the

principal owner being Ron Buckley,

 

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1 | oreated or was trying to create in

2 thatevidebage«in:-Saint Augustine:

3 : MR. FOLKENFLIK : Okay.

4 And that was referred to as The

5 Waverly. Correct?

6 THE WITNESS: Yeah. I'm

7 Saying the LLC was The Waverly, but
8 that was The Waverly.

9 MR. FOLKENFLIK: But

10 Fingerhut-Holzer Waverly I, LLc

Li bought certain condominium units or
12 ether property within The Waverly

13 structure; correct?

14 THE WITNESS: Correct.

15 MR. FOLKENFLIK: And
16 FPingerhut-Holzer Waverly II bought
1? different condominium units -

18 THE WITNESS: Correct.

19 MR. FOLKENFLIE: ~ within thea
20 same development.
21 THE WITNESS: Which, we went
22 through that, why we created the
23 LLC.
24 BY MR. CONWAY:

Q That's what I'm here to find out.

25

 

 

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Page 79
1 AB Yes. Okay. So, now, area you good
3 9 Yes,
4 . A Okay.
5 Q So Trident Realty was the real
6 estate investor - the real estate developer who
7 | was building that which was tha Waverly
8 complex?
9 A Correct.
10 Q And Fingerhut-Holzer Partners
Li created two LLCs, the purposes of which were to
12 buy units in that daveloping property?
13 A Yes, You got it now.
14 Q And were thera multiple
15 participators in Fingerhut Waverly I and
16 Fingerhut Waverly II?
1? A Yes.
18 | Q So, if two or more individuals were
19 interested in purchasing apartments there, they
20 would participate within Waverly I or Waverly
2i Ir?
22 A Correct.
23 Q Was there a limit as to how many
24 participators could be in the Waverly I
25 project?

 

 

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A I don't racall the total amount of &

 

 

 

 

 

 

 

 

2 money, so if we reached the saturation point
“a
4 money, then it was cut off.
5 So thera was a limit. Yes. The
6 | answer's a limit.
7 Q Okay. Do you remember how ~
8 A How many?
9 Q Yes,
10 A Na.
11 Q Now, different parties would invest
12 in the Waverly I and, if you wanted, in the
13 Waverly II. Correct?
14 A It wasn't an open-ended investment.
15 Is that what you're implying?
16 Q Well, if an individual was
17 acceptable to you, you would put them inte one
18 of those?
19 A Well, there was no Waverly II
20 unless Waverly I was done. Once Waverly I was
21 done, that was the end of that.
22 Q All right.
23 A Then you moved to Waverly II.
24 Q Did you finish Waverly I?
25 A Well, it's Waverly If. Yes.

 

 

 

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Page 81

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Q Okay.

How many units were involved in

 

 

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A LI don't recall.

Q Can you describe the property that

 

was being built in Florida?
Was it townhouses?
Was it apartment houses?
A it was a combination of townhousas
and single-family homes.
Q So averything would be two stories
or below?
A I don't recall the exact structure.

I'm sorry.

 

MR. FOLKENFLIK: I think we
have plans -
THE WITNESS: I'm sure you

do.

 

MR, FOLKENFLIK: ~ that
dascribe what the structures looked
like.

A Thera ware five in the last ones,

as I recall.

Q Five stories tall?

 

A I think.

 

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1). Ulelzer « March 28, 2012
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Q Now, on the occasion that you

discussed this with Mr

 

 

 

 

suggesting that he make a purchase of one of

these apartments?

A It's not of an apartment.

Q it's not of an apartment?

A The direct investment was in the
Waverly.

 

80 he wasn't buying an apartment,
per se, he was buying a piece of the total
investment, which included, again, multiple
units and/or single-family homes, and/or

parking spaces.

MR, FOLKENPLIK: Commercial
spaces?
THE WITNESS: I dontt recall

if we had any participation in

commercial space. I don't think so.

 

But I know we did buy parking
spaces, individual units, and
single-family homes.
BY MR. CONWAY:
Q ALL right.
So if I put in ten-dollars, I

wasn't buying an apartment, I was buying a

®

 

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1 portion of your investment?

2 Pe Correct,

3 Q And where was the monay-making

4 potential for Fingerhut-Holzer Partners in this
5 project?

6 A Oh. For tha partnership itself?

7 Q . Right.

8 A I don't remember how tha LLC was

9 set up. If wa tock a certain portion of the

10 profit or was there a fee involved, I can't

11 remember. I cannot recall, cf£ the top of my
120 head.

13 So not only did Pingerhut-Holzer

14 participate in the Waverly I and II as a

15 proprietary interast -

16 You know what that is. Right?

17 Q Yes.

18 Q But we also were going to get a

19 percentage of some fee pay-out I cannot

20 - remember.
al | Q All vight.
22 So there would be profit back from
23 an invastment like Pingerhut The Waverly I,
24 back to Fingerhut-Holzer Partners?
25 A Yeah. There would be a fee paid.

 

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1 It's not a profit.
2 wee ou have to understand the
3 difference between profit and fees.
4 Q I understand.
5 A Okay. So you wanna rephrase that
6 question?
7 MR. FOLKENFLIK: Can I make
8 it easy for you?
9 THE WITNESS: Yeah.
10 MR, FOLKENFLIK: Who was. the
11 managing member of the
12 Fingerhut-Holzer Wavarly I, LLC?
13 THE WITNESS: The actual
14 managing member?
15 MR. FOLKENFLIK: Yeah.
16 THE WITNESS: Was Barry.
17 MR. FOLKENFLIK: Personally
18 or through an LLC?
19 - THE WITNESS: Through the
20 LLC.
21 MR, FOLKENFLIK: Which LLC?
22 : THE WITNESS: The I and II.
23 | MR. FOLKENELIK: Okay.
24 THE WITNESS: Ha was the one
25 managing.

 

 

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ware
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Page 85
1 : MR, FOLKENFLIK: And the
| 2 . manaqement of the LLC,
3  Bingerhut-Holzer Waverly I was who?
4 THE WITNESS: it was
5 Fingerhut-Holzer Partners.
6 MR. FOLKENFLIK: Fingerhut=
7 Holzer Partners was the manager?
8 THE WITNESS: That's correct.
9 MR, FOLKENFLIE: And so the
10 managing -
11 THE WITNESS: The managing {
i
12 person of that entity was Barry. So
13 the managing ~ he's correct.
14 MR. FOLKENFLIE: So the
15 managing member would be paid = \
16 THE WITNESS: Would be paid a
17 fee. That's correct. :
18 MR. FOLKENFLIK: And if there
19 was a fee paid -
20 THE WITNESS: Thatta who it
21 was paid to.
22 Are we straight on that?
23 MR. FOLKENFLIK: And the fee
24 would be paid on the sale of tha
25 assets -

 

 

 

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1) THE WITNESS: Correct.

 

 

  

 

 

 

 

3 Waverly I.

4: THE WITNESS: And the LLC

5 would be closed down.

6 MR. FOLKENFLIK: And the LLC
7 would be closed down. The managing
8 member, Fingerhut-Holzer Partners,
3 LLC would receive a fee, and all of
10 the members, the investors, would
11 receive their participation?
12 THE WITNESS: Correct.

13. BY MR. CONWAY:

 

14 Q Where are tha documents that

15 constitute the corporate jacket and corporata
16 racords of Fingerhut-Holzer Partners?

17 A I couldn't tell you. They existed,
18 that I can tell you.

19 And I can't tell you where there
20 are,

21 Q Were they kept at. the

22 Fingerhut-Holzer firm?

23 : A They were kept at the firm.

24 | Q Okay. And did the firm have a safe
25 or a vault or a secured space where these

 

 

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Page 9'7

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records would be kapt?

A We had a secured space.

 

 

    

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Were you around when the >

Q

 

Fingerhut-Holzer office space was closed? Or

Ware you - were you -

A Incarcerated?

Q Incarcerated. Yes.

A You can say it.

Q Good.

A I don't know. I - I wasn't around,

but I don't know if they wera still domiciled
there or not. I tend to doubt it.

Q All right.

 

Do you know where the records want
for Fingerhut-Holzer Partners?

A Like I said, I wasn't there for the
actual closing, so I can't tell you where the
physical records are now.

Q Do you know whera the -

I'm just gonna ask this, and I know
the answer.

Do you have any idea where the

 

records of FPingerhut<-Holger Incorporated ara?
A No.

Q Do you have any idea where the

 

 

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1 records of Fingarhut-Holzger Equities,

2 incorporated:=are?

3 A No.

4 Q Do you have any idea where the

5 records of Fingerhut- Holzer Fund L.P. ara?

6 A No.

7 Q Do you have any idea where the

8 records of Fingerhut-Holzer The Waverly I, LLC
9 are?
10 A No.
11 Q Do you have any idea where the
12 records of Fingerhut-Holzer The Waverly II, LLC
13 are?

14 A No.

15 Q Now, was there any infringement on
16 Mr. Fingerhut's access to these records at the
17 time that Fingerhut-Holzer Partners ceased
18 operation?
i9 A What do you mean?
20 I don't understand the question.
21 9 Okay.

22
23
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25

 

Was there anything that would have
imposed upon Mr. Fingerhut's accass to these
records at the time that Fingerhut-Holzer

closed? Did anybody ~

 

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A Give me@ an axample.

Q did anybody prevent him from

 

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access to thease records?

A I den't know the answer to that.

Q Have you ever discussed where these

records were, with Mr. Fingerhut?

A I'm just trying to remember if he

visited me in jail and we talked about that.

No. He never visited me after that.

Q He visited you once in jail?
A No.

Q Oh. Oh.

A So we never talked.

Q I thought you said you didn't

remember if he came to see you.
Did he visit you in jail or not?
A No.

Q Okay.

So, on the occasion of your arrest,

Fingerhut-Holzer Partners was still around,
still in operation?
A I'm not sure if it was still

Fingerhut-Holzer Partners anymore.

Q Well, what was the name on the door?

A I don't know.

 

 

 

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Q Well, there was a time when it was

 

 

A Correct.

MR. FOLKENFLIK: LLC .
Q LLe.
Are you aware of the name on the
door changing at any time?
A No. I would assume - I would

assume Holger was taken of £.

Q After the arrest?
A I don't know that.
Q Okay. Do you know if there was a

Successor corporation to Fingarhut-Holzear

Partners?
A No.
Q Now, you're speaking to Mr. Rapillo

about making an investment in Fingerhut~-Holzer
The Waverly I.
And did Mr. Rapillo indicate a

desire to make such a investment?

A Yes.

9 Do you recall what his initial
investment was?

A I doen't recall.

Q If I were to tell you that on

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1 October 19th, two~thousand-and-five, he made a

2 thxeerhundred-thousand-dellazn.inv

3 that sound familiar? - |

. 4 A That doas sound familiar. Yes.

5 Q Can you identify this document?

6 A (The witness axamined the

7 document. }

8 MR. CONWAY: Could we have

3 this marked Plaintiff's 1?

10 (At which time, Plaintiff's

11 Exhibit 1, Money Transfer Document

12 dated October 19, 2005, consisting

13 of two pages, was marked for

14 identification.)

15 BY MR. CONWAY:

 

16 Q Can you identify this document?

17 : MR. FOLKENFLIE: Why don't wa
18 state, for the record, that you

193 marked for identification ~-

20 MR. CONWAY: Well, it's bean
21 identified. This is Exhibit 1,

22 Plaintiff's Exhibit 1.

23 MR, FOLKENFLIK: Plaintiff's
24 Exhibit 1, marked for

25 | identification, which appears to be

 

 

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Page 92

Paga 92

a composite exhibit?

MR. CONWAY: Two pages.

MR. FOLKENFLIK Thank you.
A (The witness examined the
document.)
What do you want ma to tell you on
this?
Q Have you ever seen that document

befora today?

A No, But I -T know of it.
Q You do. Okay.

A Yeah.

Q And is that a record of a

 

three~hundred-thousand-dollar transfer from Mr.

and Mrs. Rapillo?

A Yes,
Q On the Waverly investment?
MR. FOLKENFLIE: Objection.
No foundation. You can answer.
THE WITNESS: Should I
answer?
MR, FOLKENFLIK: You can
answer.
A Yas.
Q Okay. Now, who are Foley & Lardner?

 

 

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Page 93

Page 93
A Foley & Lardner was the escrow

agent for Trident Realty, as I remember, but

 

 

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Q Are Foley & Lardner a law firm?
A Yes.
Q Now, did Foley & Lardner participate

in tha management of Trident Realty or any of

its participators, other than being an escrow

agent?
A No.
As - as far as I know, no.
Q Now, when these funds were

transferred on a Citibank reference, do you
remember who held the Fingerhut-Holzer Partners
bank accounts at the time?
There are two references here.
A It would ba J.P. Morgan Stanley
Trust. Wachovia -

Look, One reference is gonna be

 

from the receiving end, which is, I assume,
Wachovia was Foley & Lardner's bank.

A law firm doasn't hold it, a bank
holds it in escrow for Foley & Lardner. So,
I'm assuming that Wachovia is the actual bank

that held the escrew money for Foley &

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Page 94
Page 94
1 Lardner.
MZ

3 October 19th, two-thousand-and-five.

4 A Yas,

5 Q Fingerhut-Holzer Partners was still

6 in operation at tha time?

7 A Yeah.

8 Q Okay. Do you recall having income

9 for yourself in the year 2004?

10 A Do I recall?

11 Q Having income.

12 A Iodon’t recall. I was in trading.
13 I don't know.

14 Q All vight. Did you file taxes for
15 the year 20042
16 A Yes.
17 Q Do you know where those taxes are
18 today?
1g : A They're in the U.S. government. I
20 don't know.
21 MR. FOLKENFLIK: The taxes?
22 Q All raght.
23 Do you have copies of your taxes?
24 MR. FOLKENFLIK: You mean tax
25 returns?

 

 

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Page 95 !
Page 95
1 | MR. CONWAY: Tax returns.
2 : A Yeah.
3 Q Okay.
4 Ara those taxes in the possession
5 | of your wife, as bast you know?
6 MR. FOLKENFLIK: Tax returns?
7 MR. CONWAY: Tax returns,
8 yes.
9 A No. They're probably in possassion
10 of J. H. Cohn now. I forget if I was using
ai them at the time.
12 | Q J.H. Cohn is an accountant?
13 A They're an accounting firm,
14 Q And whera ara they?
15 A They're in - the main office is in,
16 | what is it, Parsippany, New Jersey?
17 Somewhere around there. Parsippany, Roseland.
18 Roseland. Roseland, New Jersey.
19 Q And for how long had you used J.H.
20 Cohn as your accountant?
21 A Long time. Twenty years, maybe.
22 Q Are you still using them at this
23 time -
24 A No. |
25 Q ~ or your wife?

 

 

 

 

 

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Iouse one of the former partners.

 

  

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A

Q

A John Lotito.

Q And where does Mr. Lotito hava his

place of business?

 

A Mahwah, New Jersey.

Q Now, when this
threa-hundred-thousand-dollars was transferred,
to your knowledge, was it received by
Fingerhut-Holzer or was it sent directly to the
escrow account?

MR, FOLKENFLIK: Objection.

A No. It's sent right there
(indicating) where it went.

Q All vight.

You're indicating the Wachovia Bank

 

in Florida was the destination?
A Yeah, Exactly.
MR, FOLKENFLIE: And the name

of the account is Foley & Lardner,

 

LLP =<
! THE WITNESS: Trust account.
| MR. FOLKENPLIK: - in Trust
account.
A We're clear on that. Right?

 

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Q I'm clear.

 

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A, vee ays

 

Q Now, do you recall what your income

was in 2005?

MR. FOLKENFLIK: Asked and
answered.
Q Okay. Are you -
MR. FOLKENELIK: And, I might

add, totally irrelevant to anything.
I mean, this is all very

interesting, but if we could have a

 

higher percentage of questions

relating to the Rapillo case ~-

MR. CONWAY: Wa're getting
there.
MR. FOLKENFLIK: ~ that would
be helpful.
BY MR. CONWAY:
Q Sir, there was a second transfer by
Mr. Rapillo.
MR. CONWAY: Could we have
this marked as Plaintiff's 2?
(At which time, Plaintiff's

 

Exhibit 2, Money Transfer Document

Dated December 15, 2005, was marked

 

 

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Paga 98
| Page 98
1 : for identification. }
| 2 BY MR. CONWAY:
Q If you would, take a look at
4 this.
5. MR. FOLKENFLIK: This is
6 | Exhibit?
7 MR. CONWAY: Exhibit 2.
8 MR. FOLKENFLIK: Two.
9 A (The witness examined the
10 document, )
Ll Q Have you ever seen this document
12 before?
13 A Maybe. I'm not sure. I don't
14 remember.
15 : Q All right,
16 Does the document indicate that, on
17 December 15th, there was a transfer from Heidi
18 Rapillo to the account of David and Lasliae
19 Holzer at J.P. Morgan Chase Bank?
20 A Correct.
21 g In the sum of $600,000?
22 A Six-hundred?
23 Q Next page.
24 A It says two-hundred here.
25 QO I thought it said six-hundred.

 

 

 

 

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Page 99

Page 99
A Where does it say on yours?

Why:

 

 

ci condy-sayobwo-hundred?<«

 

 

MR. FOLKENFLIE: Can I see

the exhibit, please?

(At which time, a discussion

was held off the record.)

 

MR. CONWAY: Please mark
these two also.
(At which time, Plaintiff's
Exhibit 3, Money Transfer Document
Dated January 31, 2006, was marked
for identification.)
(At which time, Plaintiff's
Exhibit 4, Money Transfer Document
Dated March 23, 2006, was marked for
identification.)
BY MR. CONWAY:
Q I'll ask you to take a look at

documant Number 2.

 

A I can make everybody's life real
easy if you want me to make one statement.
MR. FOLKENFLIK: We'll give

you an opportunity.

 

 

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1 | A Okay. Seo what am I looking for

2 | here now?

ty docume

4 MR. FOLKENFLIK: Hold on.

5 Hold on.

6 If you ask him to look at
7 something, identify it by exhibit

8 number .

9 MR. CONWAY: Exhibit Number 2
LO in front of him, dated December

LL 15th, 2005,

12 A (The witness axamined the

13 | document.)

14 Okay.

15 And that's from Heidi Rapillo to

16 David and Leslie Holzer, amount is 600,000,

L7 i and it went to Citibank -

18 Q Want from Citibank to J.P. Morgan
19 Chase.

20 A Who wrote this on tha bottom here
21 (indicating) ?
22 Q I don't know.
23 A (The witness axamined the

24 document.)

25 | MR. FOLKENFLIK: is that your

 

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Paga 101
Page Lol

1 handwriting, sir, the notes?

2 MR. CONWAY: No,

he notes?

4 9 No

5 We're fine, Probably Heidi's.

5 A Well, we don't know. We don't know

7 what it means.

8 Q No. It's a reference to the prior

9 transfer.
10 A The one we talked about bafore?
Li Q Yeah. The one we talked about
12 already.
13 A 29210568968?

14 Is that the transfer number, the

15 first transfer we were talking about? 292 -
16 Q Yes.

L7 A - 1058968?

18 Q Yes. That's correct.
19 A So we're all in agreement that this
20 is the -
ai Q Yeah.
22 A - reference number. Okay.
23 MR, FOLKENFLIE: You just
24 have to testify about what you
25 understand from the document, not be

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Page 102
Page 102
1 ceneerned =
Right

4 Q To your knowledge, what was the

5 purpose of this transfer?

6 What were Mr. and Mrs. Rapillo

7 involving themselves in with this transfer?

8 A They thought they were ~ as I

9 recall, this was gonna be in Waverly also.
10 Q All right.

11 And, instead, it was directed to
12 | your personal account?

13 A That's correct.

14 Q And why was that, sir?

15 A Because I lied te then.

16 Q Now, let's take a step back, if we
17? may.

18 You were convicted of a crime
19 involving Mr. Fingerhut, as well as others.
20 What was the nature of the crime,
21 for which you were santanced, involving
22 Mr. Fingerhut?
23 A What was the nature of the crime?
24 Q Right.
25 You've bean convicted already.

 

 

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1 Nothing else can happen to you.

103

 

 

 

 

4 BY MR. CONWAY:

5 | Q Could you deseribe -

6 MR. FOLKENFLIK: I just wanna
7 hear the question,

8 BY MR. CONWAY:

9 Q Could you deseriba -
10 MR. CONWAY: I'll start ~
11 I'll say it again.

12 : MR. FOLKENFLIK: Yas,
13 : BY MR. CONWAY:
14 Q Would you describe the circumstances
15 which gave rise to a criminal arrest in your
16 involvement with Mr. Fingerhut?
17 MR. FOLKENFLIK: Objection.
18 BY MR. CONWAY:
19 Q What went on between the two of you
20 that gave rise to the -
21 MR. FOLKENFLIK: Which “two
aa of you"?
23 BY MR. CONWAY:
24 Q Mr. Fingerhut and yourself.
25 MR. FOLKENFLIK: Objection.

 

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BY. MR CONWAX:

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Assumes Facts not in evidence.

 

 

 

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Q

 

 

A

Q

financial issue, between yourself and

Mr. Fingerhut, that resulted in you being

A

Q

|

arrested?
money?
{

SF ©

Q

| is that you're in jail?

A
Mea.
Q
A
Rapillo.
Q

A

Q

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All I wanna do is =
I don't recall.

Okay. What was the nature of the

 

I don't recall.

Okay. Did you owe Mr. Fingerhut

When?

On or about December 15th of 26005.

I don't recall.

Do you have any recollection why it

I took money that didn't beleng to

From who?

From Haidi Rapillo and John

Anyone else?

 

Amongst others.

Did you take money from

Mr. Fingerhut?

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Did I take it?

 

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way?
A Did I gain control of it? You
mean, did -
Just extrapolate that out a little
bit.
o All cight. What is the nature of

your relationship with Mr. Fingerhut that

resulted in your being arrasted?

 

A I don't know.
MR. FOLKENFLIK: Mr. Holzer,
did you plead guilty -
THE WITNESS: Yes.

MR. FOLKENFLIK: ~ to any
crimes concerning the transactions
you had with Mr. Fingerhut?
THE WITNESS: Yas.
MR. FOLKENFILIK: What was the
natura of the transactions to which
you pleaded guilty?

THE WITNESS: Stole money.

 

MR. FOLKENFLIK: From?
THE WITNESS: Me. Fingerhut.
MR. FOLKENFLIK: Okay.

 

 

 

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Paga 106

BY MR. CONWAY:

Q Okay. How much was stolen?

   

    

 

A Twelve - I don't - I don't recall

the exact amount. j

 

2 And -

A More than ten-million. 1
@ And how did you do that? )
A I don't recall the exact nature of i

how IF actually did it.

 

MR. FOLKENFLIK: Can you
explain, in your own words,
approximately, what occurred in
connection with the stealing of
money from Mr, Fingerhut that you
just testified to?

THE WITNESS: Okay. You want
a whole lengthy --~

BY MR. CONWAY:
Q Yeah. If you could.
MR. FOLKENFLIK: As long or

as short as you think is necessary

 

to axplain it.
THE WITNESS: Okay. I'm
trying to think.

A I'll invoke the fifth here, and I

 

 

 

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Page 107
| Page 107
1 ean,
2 9 Qrvaimeoks-ovrers :
3 A Well, what if I say something that
4 wasn't directly related ta that?
5 Q You're covered.
6 A Whe says I'm covered? [I'm taking
7 the £1fth.
8 Next question.
9 Q Did there come a time that you came
10 | to be at odds with Mr. Fingerhut in your
it business relationship?
12 A I doen't recall.
13 Q Did there come a time when you were
14 | attempting to return money to Mr. Fingerhut?
15 A I don't recall.
16 Q What happened to the money that Mr.
17 | and Mrs. Rapillo sent you on December 15th?
18 A What happened to tha money, that
19 particular monies?
20 @ Yas.
21° A I don't remember.
22 QO Was that money used for personal
23 benefit?
24 A Possibly.
25 | Q Is any cf that money still in your

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possession?

 

 

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22

23

24

25

A No"

 

Q Did any of that money ~<
Was any of that money given to
Mr. Fingerhut?

A No,

 

Q Take a look at -

MR, FOLKENFLIK: Just to save
tima in the future - nor any antity
affiliated with him?

THE WITNESS: No.

BY MR. CONWAY:
Q Take a look at document Number 3,
the January 31st.
A That I can recall.
I have to quantify that last one.
I'm sorry. You wanna repeat the

question?

 

MR, FOLKENFLIK: No. That's
fine.
A (The witness axamined the
document. }
Okay. This is January 31st, '06?
Q Right.

And does that indicate a transfer

 

 

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Page 109
Page 109
1 of funds from the Rapillos to you?
| 2 A Correct.
3 Q And hew much was that?
4 A How much was it?
5 Two~-hundred-thousand-dollars.
6 Q And what was the purpose of -
7 In your dealings with them, what
8 was the nature, what was the intent for that
9 money?
10 A I don't remember, for this
il particular amount.
12 Q Take a look at transfer Number 4.
13 A (The witness examined thea
14 documant. )
L5 MR. FOLKENFLIK: Would you
16 please identify the document.
17 MR, CONWAY: Yes. It's
18 document Number 4,
19 MR. FOLKENFLIK: Exhibit
20 Number 4?
21 MR. CONWAY: Exhibit Number
22 . 4. Exhibit Number 4, dated March -
23 THE WITNESS: March 23rd,
24 O06.
25

 

 

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BY MR. CONWAY:

 

Q

March 23rd, does that indicate a

 

And were those funds transferred to

your personal account again?

A
Q

A

Q
"VCampus''?

A

 

7 OO F 0

company.

Q
VCampus?

A

market,

 

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Yes.
And what happened to those funds?
Don't recall.

Are you familiar with a term called

Yes.

What is VCampus?
VCampus?

Yeah.

VCampus was an online education

And whe were the principals of

The principals -

it was publicly traded, There was

no principals.

VCampus was a publicly traded

company trading on the over-the-counter

 

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Paga 1L1
1! Q And did Fingerhut-Holzer Partners

_..have an interest in VCampus?

   

 

   

 

 

 

A Fingerhut~Holzer Partners? No.
4 . Q Did Mr. Fingerhut have an interest
5 in that?
6 A Yes.
7 Q What was the interest that
8 Mr. Pingerhut had?
9 A He owned stock,
10 He owned debt, also.
LiL Q He was a creditor of the company, is
12 that what you mean?
13 A Yas. In effect, he was.
14 Q And where was the headquarters of
15 VCampus?
16 A Virginia. Reston, Virginia, I
17? think it was.
18 Qo Reston, Virginia?
19 A I think. I'm not sure.
20 Q Did you yourself own stock in
21 vCampus?
22 A Yes.
23 Q How much did you own?
24 A I can't recall. Maybe,
25 nine-million shares.

 

 

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1 Q And what were those shares trading
2 at at their height?
3 A At their height?
4 Yes.
5 Q During the period I owned them?
6 Are you asking me during the period
7 that I owned them?
8 Q During the period you owned them.
3 A Probably -
10 I can't answer that question. The
Li nine-million shares was accumulated over the
12 course of a few years. The stock fluctuated.
13 So when I owned nine-million
14 shares, the high point for the stock might
15 have been three,
16 When I owned four-million shares,
17 it might have been 12,
18 So it's not a question that you can
19 answer with any accuracy.
20 Q All right.
2i Did you own a high of
22 twalve-million shares?
23 A No. I said nine-million.
24 Q Oh. ££ thought you indicatad -
25 Was nine-million the highest -

 

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Page 113
Page 113
1 b& Yes.
2 Q Was. VGanpus associated with any
3 university or organization?
4 A Associated in what way?
5 Q Was it affiliated so that -
6 A No.
7 Q Was any of the $800,000 that was
8 transferred on March 15th of 2006 given te
9 Mr. Fingerhut?
10 A No.
11 Q Did all of that money remain with
12 you?
13 A Remain with me?
14 Well, it did not go to
15 Mr. Fingerhut, right.
16 Q Where did it go?
17 A It want into differant various
18 assorted and sundry items. I just don't
is recall.
20 Q Such as?
21 A Could have gone into VCampus.
22 Could have gone into Waverly.
23 Could have gone into gasoline.
24 Could have gone into the
25 suparmarket, groceries,

 

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1 I doen't recall the exact
, . 2 destination_of..the..monies.
3. : MR. FOLKENFLIK: When you say
4 "could have gone” these places, it
5 was treated as your personal money?
6 THE WITNESS: Yes. Did not ~-
7 he asked me if it went to
8 Mr. Fingerhut.
9 MR. FOLKENFLIKE: Yes.
10 THE WITNESS: Io said, no.
Ll The answer is no,
12 MR. FOLKENFLIK: It was
13 treated as your money.
14 | THE WITNESS: That's correct.
15 MR. FOLKENPLIK: And you did
16 with it what you did with it.
17 THE WITNESS: That's correct.
18 MR. FOLKENFLIK: And that's
19 true of the prior 200,000.
20 THE WITNESS: Correct.
21 MR. FOLKENFLIK: Correct?
22 | THE WITNESS: That's correct.
23 MR. FOLKENFLIK: Trua of all
24 the money you got?
25 THE WITNESS: That's corract.

 

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1 MR. FOLKENPLIK: Same answer
2 | going forward?
ca Tl at's correct.
4 Going forward, you got the same
5 answer.
6 BY MR. CONWAY:
q Q Now, did any of that find its way to
8 Mx. Fingerhut?
9 MR, FOLKENFLIK: Asked and
16 answered. He can answer again.
11 A No.
12 Q And when were you arrasted?
13 A What day?
14 Q Yeah. Do you know?
15 A May - May 22nd of '08.
16 Should be, like, my day that lives
17 in infamy. Right?
18 Yeah. May 22nd of '08, I think.
19° Pretty sure.
20 Q When was the last time you saw
al Mr. Fingerhut before today?
22 A Before today?
23 Maybe, January of '08 or December
24 of ‘07, or thereabouts.
25 Q And where did you meet him, where

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1 did you saa him?
2 A I..don'.t.cecall Probably.,...the
3 of fica, : |
4 Q All right. This is before your
5 arrest?
6 A That's before I was arrested.
7 Q And how did the police come to learn
8, of any criminal activity on your part?
9 A IT would hazard a guess as to say
10 that it was instigated by a private
11 investigator that Barry Fingerhut hired.
12 Q Do you know the nama of the
13 gentleman?
14 A No.
L5 Q And did the investigator contact
16 you?
1? A Did he contact me?
18 Yas.
19 Did he contact you in any way in
20 his investigation?
21 A Well, yeah. We had a meeting.
22 Q You and he? Where was that?
23 A In the office.
24 Q And what was the nature of the
25 discussion?

 

 

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1 A How I stole money from various
2 different people.
3) Q All right.
4 And you don't remember the name of
5 this investigator?
6 A I didn't hire him. No.
7 Q Well, he obviously identified
8 himself to you when you wera speaking to him.
9 A Iodon't remember. You could stick
10 ma with 14 pins, I wouldn't remamber the guy's
11 name, nor would I care.
12 | Q Do you knew Barry and Charlotte
13 Pessar (Phonetic Spelling)?
14 A Passar?
15 Q Pessar.
16 A Yes.
1? Q And who are they?
18 A Friends of mine; were previous
19 friends of mine.
20 Q And what was your relationship with
21 Mr. and Mrs. Pessar, for investment purposes?
22 A Nothing.
23 Iomean, one instance, and it's a
24 totally unrelated item to the
25 | Fingerhut-Holzer.

 

 

 

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Q What was the instance and how is it

unrelated?

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nothing to do with Fingerhut-Holzer.
And I don't recall the actual name
of the product.
Q Okay. Do you know a Barbara and

Michael Zachman (Phonetic Spelling) ?

A Yes.

Q And who are they?

A Friends. of ours,

Q And did you have a business

relationship with them?

 

A Business relationship? Yas.
Q Ware they investors with you?
A ¥es.,
9g How much did they invest?
A Io don't reeall.
Q Did Mr. and Mra. Pessar invest with
you?
A Yes.
| Q Did a Mr. Mel Block (Phonetic

Spelling) invest with you?
A No.

Q Okay.

 

it was just me and them , Had

 

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1 A The last question?

2 Q Okay.

3 cos — hyewe

4 A Yeah.

5 Ask that question again.

6 Q Did you have a business relationship
7 with Mel Block?

8 A I invoke my Fifth Amendment right.
3 MR. CONWAY: Okay. I have

10 nothing further.

ii MR. FOLKENFLIK: Just a

12 couple quick questions.

13 THE WITNESS: Sure,

14 | MR. FOLKENFLIK: Couple quick
15 ones.
16 EXAMINATION

17 BY MR. FOLKENFLIK:
18 Q vCampus, was there any Fingerhut-

19 Holzer subsidiary LLC that invested in VCampus?

 

20 A No.

21 Q Okay.

22 Do you recall any discussions with
23 the Rapilles about a dinner theater?

24 A A what?

25 Q A dinner theater investment?

 

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| Page 120

1 | A A dinner theater?

2

3 A

4 A dinner theater?

5 Q Yeah,

6 A The only discussion that -

7 Now, this whola dinner theater that

8 came up was when I was talking about Waverly.

9 It wasn't about a dinner theater, it was about
10 — a theater complex in one section of tha
1l Waverly.

12 . I know - I had nothing to say about

13 we wera owning it, or anything. I said

14 "Thera's a big theater there. It's gonna draw

15 a lot of people there, There's a whole

16 complex there that people are gonna wanna live

1? néar." Food courts and a Merrill Lynch

18 complex that was right there.

19 I don't know where that came from.
20 Iosaw it in there, and it was too late already
a1 to change it. ;
22 But it was in there, and you plead, |
23 ! and what am I gonna say, "Change that dinner
24 theatar thing"?
25 That thing was never impugned to be

 

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owned by anybody.

Q Okay.

 

 

  

Leaving aside what it was
represented to be, did any of the
Fingerhut-Holzer subsidiary entities invest in
a dinner theater?

A No.

Q Okay.

Waverly II, did any of the

Fingerhut-Holzer investment entities invest in

Waverly II?

 

A Waverly II? Yes.
Q Okay.
And were those investments, to the
extent that investors invested in that,

handled in the same way as Waverly I,

substantially?
A Yes.
Q And so that any investor who wished

to invest in Waverly II received subscription

 

documents?
A Yeas.
Q And signed them?
A Yes.
| Q Just as Waverly I.

 

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1 And gent them to the investment
2 entity, right, for acceptance?
3. Reece h:
4 Q And if they were accepted, then they
5 sent the check.
6 Right?
7 A Correct.
8 Q And the check was sent, or a wire
9 was sent to Foley & Lardner's trust account
10 again?
Lt A Escrow account. Correct.
12 Q The escrow,
13 And they would recaiva documents
14 indicating they were members in the Waverly
15 II, LLC?
16 A I'm not sure if we ever sant ont
17? decuments or they used their cancelled check
18 as the confirmation of their involvement.
19 Q Okay.
20 A I'm really not sure of that.
21 Q One way or another, they -
22 | A If they did have an invelvement,
23 then it was either the cancelled check
24 themselves in the Waverly, or thera were
25 documents, and that, Blum would have handled

 

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1 | it. I don't know.
2 2... Okay, a
; mene * . — os os
4 A Same thing -
5 | Just lat me say one other thing,
6 Please. Same thing with the subscription
7 documents. I never actually saw those.
g It would also, again, be Blum
3 handling it.
10 2 Okay.
11 And, as far as you know, he handled
12 them in a regular manner?
13 A As far as I know. Yes.
14 Q Completely on the up-and-up?
15 A Yas,
16 Q And the Waverly was not a success?
17 A It wasn't a - I don't know.
18 Q Oh. You don't know. Okay.
19 Whether the Waverly succeeded or
20 failed, you have no idea?
21 A I don't know. I have no idea.
22 Q Okay. I'm just asking.
23 But you're not aware of it
24 succeeding or failing for any improper - |
25 A No. Not aware,

 

 

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Q As far as you know, everything about

the Waverly investment was perfectly lawful and

 

 

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on..the..up-and=-up.

 

A What was that next question?
Q As far as you know, avarything about
the Waverly investment was perfectly lawful, on

the up-and=-up?

 

A Yes.
Q And is that true of all the
Fingerhut-Holzer subsidiaries?
A Yes.
MR. FOLKENFLIK: Give me just

one second,

{At which time, thera was a

brief pause in the proceedings.)

MR. FOLKENFLIK:; Nothing

further.

 

MR. CONWAY: Okay. We're
done.

MR. FOLKENFLIK: Oh. Oh. I
do have one question, if we can.

BY MR. FOLKENFLIK:

Q Mr. Conway said he had a meeting

 

 

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